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 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

                Southern District of Texas

 Case number (If known):                           Chapter you are filing under:
                                                   ✔
                                                   ❑       Chapter 7
                                                   ❑       Chapter 11
                                                   ❑
                                                                                                                                          ❑ Check if this is an
                                                           Chapter 12
                                                   ❑       Chapter 13
                                                                                                                                              amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                          12/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and
in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if
either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In
joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

 Part 1: Identify Yourself

                                              About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name
                                               Judy
       Write the name that is on your         First name                                                      First name
       government-issued picture               Scherff
       identification (for example, your      Middle name                                                     Middle name
       driver’s license or passport).
                                               Brock
       Bring your picture identification      Last name                                                       Last name
       to your meeting with the trustee.
                                              Suffix (Sr., Jr, II, III)                                       Suffix (Sr., Jr, II, III)




  2.   All other names you have                Judy
       used in the last 8 years               First name                                                      First name

       Include your married or maiden         Middle name                                                     Middle name
       names and any assumed, trade
       names and doing business as             Lee
       names.                                 Last name                                                       Last name

       Do NOT list the name of any             Judy
       separate legal entity such as a        First name                                                      First name
       corporation, partnership, or LLC
       that is not filing this petition.
                                              Middle name                                                     Middle name
                                               Walker
                                              Last name                                                       Last name



                                              Business name (if applicable)                                   Business name (if applicable)


                                              Business name (if applicable)                                   Business name (if applicable)




  3.   Only the last 4 digits of your
                                              xxx - xx - 5           3    9   3                               xxx - xx -
       Social Security number or
       federal Individual Taxpayer            OR                                                              OR
       Identification number                  9xx - xx -                                                      9xx - xx -
       (ITIN)


Official Form 101                                             Voluntary Petition for Individuals Filing for Bankruptcy                                            page 1
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 Debtor 1            Judy                Scherff                      Brock                                          Case number (if known)
                     First Name          Middle Name                  Last Name


                                          About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):


  4.   Your Employer Identification                    -                                                                -
       Number (EIN), if any.              EIN                                                              EIN


                                                       -                                                                -
                                          EIN                                                              EIN




                                                                                                           If Debtor 2 lives at a different address:
  5.   Where you live
                                          4150 Pendleton Dr. Apt 217
                                          Number             Street                                        Number           Street




                                          Bryan, TX 77802-2626
                                          City                                    State    ZIP Code        City                                  State      ZIP Code

                                          Brazos
                                          County                                                           County

                                          If your mailing address is different from the one above,         If Debtor 2's mailing address is different from yours, fill
                                          fill it in here. Note that the court will send any notices to    it in here. Note that the court will send any notices to you
                                          you at this mailing address.                                     at this mailing address.


                                          Number             Street                                        Number           Street



                                          P.O. Box                                                         P.O. Box



                                          City                                    State    ZIP Code        City                                  State      ZIP Code




  6.   Why you are choosing this          Check one:                                                       Check one:
       district to file for bankruptcy
                                          ✔
                                          ❑      Over the last 180 days before filing this petition, I     ❑      Over the last 180 days before filing this petition, I
                                                 have lived in this district longer than in any other             have lived in this district longer than in any other
                                                 district.                                                        district.

                                          ❑      I have another reason. Explain.                           ❑      I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408)                                           (See 28 U.S.C. § 1408)




Official Form 101                                          Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 2
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 Debtor 1           Judy               Scherff                 Brock                                          Case number (if known)
                    First Name         Middle Name             Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


  7.   The chapter of the Bankruptcy   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for
       Code you are choosing to file   Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       under                           ✔
                                       ❑     Chapter 7
                                       ❑     Chapter 11
                                       ❑     Chapter 12
                                       ❑     Chapter 13



  8.   How you will pay the fee        ✔
                                       ❑   I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more
                                           details about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's
                                           check, or money order. If your attorney is submitting your payment on your behalf, your attorney may pay with
                                           a credit card or check with a pre-printed address.

                                       ❑   I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals
                                           to Pay The Filing Fee in Installments (Official Form 103A).

                                       ❑   I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a
                                           judge may, but is not required to, waive your fee, and may do so only if your income is less than 150% of the
                                           official poverty line that applies to your family size and you are unable to pay the fee in installments). If you
                                           choose this option, you must fill out the Application to Have the Chapter 7 Filing Fee Waived (Official Form
                                           103B) and file it with your petition.




  9.   Have you filed for bankruptcy   ✔ No.
                                       ❑
                                       ❑ Yes.
       within the last 8 years?
                                                 District                                      When                         Case number
                                                                                                      MM / DD / YYYY

                                                 District                                      When                         Case number
                                                                                                      MM / DD / YYYY

                                                 District                                      When                         Case number
                                                                                                      MM / DD / YYYY




  10. Are any bankruptcy cases         ✔ No.
                                       ❑
                                       ❑ Yes.
       pending or being filed by a
       spouse who is not filing this             Debtor                                                                 Relationship to you
       case with you, or by a
       business partner, or by an                District                                  When                         Case number, if known
       affiliate?                                                                                 MM / DD / YYYY


                                                 Debtor                                                                 Relationship to you

                                                 District                                  When                         Case number, if known
                                                                                                  MM / DD / YYYY




  11. Do you rent your residence?      ❑   No.    Go to line 12.
                                       ✔
                                       ❑   Yes. Has your landlord obtained an eviction judgment against you?

                                                  ✔
                                                  ❑    No. Go to line 12.

                                                  ❑    Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it
                                                       as part of this bankruptcy petition.




Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 3
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 Debtor 1           Judy                   Scherff                  Brock                                          Case number (if known)
                    First Name             Middle Name              Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor


  12. Are you a sole proprietor of         ✔
                                           ❑   No. Go to Part 4.

                                           ❑
      any full- or part-time
      business?                                Yes. Name and location of business

      A sole proprietorship is a
      business you operate as an               Name of business, if any
      individual, and is not a separate
      legal entity such as a
      corporation, partnership, or LLC.        Number          Street

      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this
      petition.                                City                                                 State           ZIP Code

                                               Check the appropriate box to describe your business:

                                               ❑      Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                               ❑      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                               ❑      Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                               ❑      Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                               ❑      None of the above



  13. Are you filing under Chapter         If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
      11 of the Bankruptcy Code,           proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business
      and are you a small business         debtor or you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement
      debtor or a debtor as defined        of operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the
      by 11 U.S. C. § 1182(1)?             procedure in 11 U.S.C. § 1116(1)(B).

      For a definition of small business   ✔
                                           ❑   No.        I am not filing under Chapter 11.

                                           ❑
      debtor, see 11 U.S.C. §
      101(51D).                                No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                          Bankruptcy Code.

                                           ❑   Yes.       I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                          Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                           ❑   Yes.       I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy
                                                          Code, and I choose to proceed under Subchapter V of Chapter 11.




Official Form 101                                        Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 4
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 Debtor 1           Judy                Scherff                 Brock                                        Case number (if known)
                    First Name          Middle Name             Last Name


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


  14. Do you own or have any            ✔
                                        ❑   No.

                                        ❑
      property that poses or is
      alleged to pose a threat of           Yes.   What is the hazard?
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate
      attention?                                   If immediate attention is needed, why is it needed?

      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?

                                                   Where is the property?
                                                                              Number        Street




                                                                              City                                          State     ZIP Code




Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                   page 5
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 Debtor 1           Judy                Scherff                    Brock                                               Case number (if known)
                    First Name          Middle Name                Last Name


 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you        About Debtor 1:                                                       About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you         You must check one:                                                   You must check one:
      receive a briefing about credit
      counseling before you file for
                                        ✔
                                        ❑    I received a briefing from an approved credit counseling         ❑    I received a briefing from an approved credit counseling
      bankruptcy. You must truthfully        agency within the 180 days before I filed this bankruptcy             agency within the 180 days before I filed this bankruptcy
      check one of the following             petition, and I received a certificate of completion.                 petition, and I received a certificate of completion.
      choices. If you cannot do so,          Attach a copy of the certificate and the payment plan, if any,        Attach a copy of the certificate and the payment plan, if any,
      you are not eligible to file.          that you developed with the agency.                                   that you developed with the agency.

      If you file anyway, the court     ❑    I received a briefing from an approved credit counseling         ❑    I received a briefing from an approved credit counseling
      can dismiss your case, you will        agency within the 180 days before I filed this bankruptcy             agency within the 180 days before I filed this bankruptcy
      lose whatever filing fee you           petition, but I do not have a certificate of completion.              petition, but I do not have a certificate of completion.
      paid, and your creditors can           Within 14 days after you file this bankruptcy petition, you           Within 14 days after you file this bankruptcy petition, you
      begin collection activities            MUST file a copy of the certificate and payment plan, if any.         MUST file a copy of the certificate and payment plan, if any.

                                        ❑                                                                     ❑
      again.
                                             I certify that I asked for credit counseling services from an         I certify that I asked for credit counseling services from an
                                             approved agency, but was unable to obtain those services              approved agency, but was unable to obtain those services
                                             during the 7 days after I made my request, and exigent                during the 7 days after I made my request, and exigent
                                             circumstances merit a 30-day temporary waiver of the                  circumstances merit a 30-day temporary waiver of the
                                             requirement.                                                          requirement.
                                             To ask for a 30-day temporary waiver of the requirement,              To ask for a 30-day temporary waiver of the requirement,
                                             attach a separate sheet explaining what efforts you made to           attach a separate sheet explaining what efforts you made to
                                             obtain the briefing, why you were unable to obtain it before          obtain the briefing, why you were unable to obtain it before
                                             you filed for bankruptcy, and what exigent circumstances              you filed for bankruptcy, and what exigent circumstances
                                             required you to file this case.                                       required you to file this case.

                                             Your case may be dismissed if the court is dissatisfied with          Your case may be dismissed if the court is dissatisfied with
                                             your reasons for not receiving a briefing before you filed for        your reasons for not receiving a briefing before you filed for
                                             bankruptcy.                                                           bankruptcy.

                                             If the court is satisfied with your reasons, you must still           If the court is satisfied with your reasons, you must still
                                             receive a briefing within 30 days after you file.                     receive a briefing within 30 days after you file.
                                             You must file a certificate from the approved agency, along           You must file a certificate from the approved agency, along
                                             with a copy of the payment plan you developed, if any. If you         with a copy of the payment plan you developed, if any. If you
                                             do not do so, your case may be dismissed.                             do not do so, your case may be dismissed.

                                             Any extension of the 30-day deadline is granted only for              Any extension of the 30-day deadline is granted only for
                                             cause and is limited to a maximum of 15 days.                         cause and is limited to a maximum of 15 days.

                                        ❑    I am not required to receive a briefing about credit             ❑    I am not required to receive a briefing about credit
                                             counseling because of:                                                counseling because of:
                                             ❑    Incapacity. I have a mental illness or a mental                  ❑    Incapacity. I have a mental illness or a mental
                                                              deficiency that makes me incapable of                                 deficiency that makes me incapable of
                                                              realizing or making rational decisions                                realizing or making rational decisions
                                                              about finances.                                                       about finances.
                                             ❑    Disability.   My physical disability causes me to be             ❑    Disability.   My physical disability causes me to be
                                                                unable to participate in a briefing in                                unable to participate in a briefing in
                                                                person, by phone, or through the                                      person, by phone, or through the
                                                                internet, even after I reasonably tried to                            internet, even after I reasonably tried to
                                                                do so.                                                                do so.
                                             ❑    Active duty. I am currently on active military duty in           ❑    Active duty. I am currently on active military duty in
                                                               a military combat zone.                                               a military combat zone.

                                             If you believe you are not required to receive a briefing             If you believe you are not required to receive a briefing
                                             about credit counseling, you must file a motion for waiver of         about credit counseling, you must file a motion for waiver of
                                             credit counseling with the court.                                     credit counseling with the court.




Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                                               page 6
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 Debtor 1           Judy                  Scherff                  Brock                                            Case number (if known)
                    First Name            Middle Name              Last Name


 Part 6: Answer These Questions for Reporting Purposes


  16. What kind of debts do you              16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as
      have?                                       “incurred by an individual primarily for a personal, family, or household purpose.”
                                                    ❑    No. Go to line 16b.
                                                    ✔
                                                    ❑    Yes. Go to line 17.

                                             16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                                  for a business or investment or through the operation of the business or investment.
                                                    ❑    No. Go to line 16c.
                                                    ❑    Yes. Go to line 17.

                                             16c. State the type of debts you owe that are not consumer debts or business debts.



  17. Are you filing under Chapter 7?        ❑      No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any
                                             ✔
                                             ❑      Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      exempt property is excluded                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      and administrative expenses are                      ✔
                                                           ❑    No
      paid that funds will be available                    ❑    Yes
      for distribution to unsecured
      creditors?

  18. How many creditors do you               ✔
                                              ❑     1-49        ❑     1,000-5,000         ❑    25,001-50,000 ❑ 50,000-100,000 ❑ More than 100,000
      estimate that you owe?                  ❑     50-99       ❑     5,001-10,000
                                              ❑     100-199     ❑     10,001-25,000
                                              ❑     200-999


  19. How much do you estimate your           ✔
                                              ❑     $0-$50,000                     ❑    $1,000,001-$10 million                ❑     $500,000,001-$1 billion
      assets to be worth?                     ❑     $50,001-$100,000               ❑    $10,000,001-$50 million               ❑     $1,000,000,001-$10 billion
                                              ❑     $100,001-$500,000              ❑    $50,000,001-$100 million              ❑     $10,000,000,001-$50 billion
                                              ❑     $500,001-$1 million            ❑    $100,000,001-$500 million             ❑     More than $50 billion


  20. How much do you estimate your           ❑     $0-$50,000                     ❑    $1,000,001-$10 million                ❑     $500,000,001-$1 billion
      liabilities to be?                      ❑     $50,001-$100,000               ❑    $10,000,001-$50 million               ❑     $1,000,000,001-$10 billion
                                              ✔
                                              ❑     $100,001-$500,000              ❑    $50,000,001-$100 million              ❑     $10,000,000,001-$50 billion
                                              ❑     $500,001-$1 million            ❑    $100,000,001-$500 million             ❑     More than $50 billion

 Part 7: Sign Below


  For you                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                 States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.

                                   ✘ /s/ Judy Scherff Brock
                                       Judy Scherff Brock, Debtor 1
                                       Executed on 06/07/2023
                                                        MM/ DD/ YYYY




Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 7
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 Debtor 1           Judy                    Scherff                 Brock                                          Case number (if known)
                    First Name              Middle Name             Last Name



   For your attorney, if you are              I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to
   represented by one                         proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under
                                              each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by
   If you are not represented by an           11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry
   attorney, you do not need to file this     that the information in the schedules filed with the petition is incorrect.
   page.

                                              ✘ /s/ Nikie Marie López-Pagán                                          Date 06/07/2023
                                                   Signature of Attorney for Debtor                                        MM / DD / YYYY




                                                  Nikie Marie López-Pagán
                                                  Printed name

                                                  Baker & Associates
                                                  Firm name

                                                  950 Echo Ln Ste 300
                                                  Number      Street



                                                  Houston                                                          TX      77024-2824
                                                  City                                                             State   ZIP Code



                                                  Contact phone (713) 869-9200                       Email address Courtdocs@bakerassociates.net


                                                  24090233                                                         TX
                                                  Bar number                                                       State




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 8
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 Fill in this information to identify your case and this filing:

  Debtor 1                 Judy                         Scherff                      Brock
                           First Name                  Middle Name                  Last Name

  Debtor 2
  (Spouse, if filing)      First Name                  Middle Name                  Last Name

  United States Bankruptcy Court for the:                         Southern                   District of            Texas

  Case number                                                                                                                                                          ❑   Check if this is an
                                                                                                                                                                           amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                  12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in
the category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are
equally responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.

  Part 1:               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        ❑     No. Go to Part 2.
        ✔
        ❑     Yes. Where is the property?

                                                                  What is the property? Check all that apply.                           Do not deduct secured claims or exemptions. Put
        1.1      Block N, lot 30, sp. 1&2                         ❑    Single-family home                                               the amount of any secured claims on Schedule D:
                Street address, if available, or other            ❑    Duplex or multi-unit building                                    Creditors Who Have Claims Secured by Property.
                description                                       ❑    Condominium or cooperative
                                                                                                                                       Current value of the            Current value of the
                                                                  ❑    Manufactured or mobile home
                                                                                                                                       entire property?                portion you own?
                 318 Shoreline Drive
                                                                  ❑    Land
                Wichita Falls, TX 76308                           ❑    Investment property                                                             $10,000.00                 $10,000.00

                City          State     ZIP Code                  ❑    Timeshare
                                                                                                                                       Describe the nature of your ownership interest
                                                                  ✔
                                                                  ❑    Other Burial Plot                                               (such as fee simple, tenancy by the entireties, or
                Wichita                                                                                                                a life estate), if known.
                                                                  Who has an interest in the property? Check one.
                County
                                                                  ✔
                                                                  ❑    Debtor 1 only                                                    Fee Simple

                                                                  ❑    Debtor 2 only
                                                                                                                                       ❑    Check if this is community property
                                                                  ❑    Debtor 1 and Debtor 2 only                                           (see instructions)
                                                                  ❑    At least one of the debtors and another

                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number:



                                                                                                                                                                   ➔
 2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
                                                                                                                                                                                  $10,000.00
        you have attached for Part 1. Write that number here ...................................................................................................


  Part 2:               Describe Your Vehicles

 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


 3.        Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           ❑    No
           ✔
           ❑    Yes




Official Form 106A/B                                                                Schedule A/B: Property                                                                              page 1
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Debtor Brock, Judy Scherff                                                                                                  Case number (if known)



       3.1     Make:                           Ford              Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                               Escape
                                                                 ❑    Debtor 1 only                                                    the amount of any secured claims on Schedule D:
               Model:
                                                                 ❑    Debtor 2 only                                                    Creditors Who Have Claims Secured by Property.
                                               2017              ❑    Debtor 1 and Debtor 2 only
                                                                 ✔
               Year:                                                                                                                  Current value of the            Current value of the
                                                                 ❑    At least one of the debtors and another
                                                                                                                                      entire property?                portion you own?
               Approximate mileage:            75,000
                                                                 ❑    Check if this is community property (see                                        $11,875.00                      $0.00
               Other information:                                     instructions)

                   Debtor's daughter drives and pays
                   for vehicle
                   VIN: HUC24431

       If you own or have more than one, describe here:

       3.2     Make:                           Chevrolet         Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ✔
                                                                 ❑    Debtor 1 only                                                    the amount of any secured claims on Schedule D:
                                               Equinox
               Model:
                                                                 ❑    Debtor 2 only                                                    Creditors Who Have Claims Secured by Property.

               Year:                           2019              ❑    Debtor 1 and Debtor 2 only
                                                                                                                                      Current value of the            Current value of the
                                                                 ❑    At least one of the debtors and another
                                                                                                                                      entire property?                portion you own?
               Approximate mileage:            42,000
                                                                 ❑    Check if this is community property (see                                        $23,200.00                 $23,200.00
               Other information:                                     instructions)

                   VIN: K6141963



 4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       ✔
       ❑     No

       ❑     Yes


       4.1     Make:                                             Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
               Model:
                                                                 ❑    Debtor 1 only                                                    the amount of any secured claims on Schedule D:
                                                                 ❑    Debtor 2 only                                                    Creditors Who Have Claims Secured by Property.
               Year:                                             ❑    Debtor 1 and Debtor 2 only
                                                                                                                                      Current value of the            Current value of the
                                                                 ❑    At least one of the debtors and another
                                                                                                                                      entire property?                portion you own?
               Other information:
                                                                 ❑    Check if this is community property (see
                                                                      instructions)




                                                                                                                                                                  ➔
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
                                                                                                                                                                                 $23,200.00
       you have attached for Part 2. Write that number here ...................................................................................................


  Part 3:            Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following items?                                                                                    Current value of the
                                                                                                                                                                      portion you own?
                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                      claims or exemptions.

 6.    Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware

       ❑     No
       ✔
       ❑     Yes. Describe. .........
                                            See Attached.                                                                                                                            $810.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                             page 2
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Debtor Brock, Judy Scherff                                                                           Case number (if known)



 7.    Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devices including cell phones, cameras, media players, games

       ❑   No
       ✔
       ❑   Yes. Describe. .........
                                        See Attached.                                                                                  $325.00


 8.    Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or
                 baseball card collections; other collections, memorabilia, collectibles

       ❑   No
       ✔
       ❑   Yes. Describe. .........
                                        dvds                                                                                            $10.00


 9.    Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and
                 kayaks; carpentry tools; musical instruments

       ✔
       ❑   No

       ❑   Yes. Describe. .........



 10.   Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment

       ✔
       ❑   No

       ❑   Yes. Describe. .........



 11.   Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

       ❑   No
       ✔
       ❑   Yes. Describe. .........
                                        clothing, shoes, handbags                                                                      $100.00


 12.   Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold,
                 silver

       ❑   No
       ✔
       ❑   Yes. Describe. .........
                                        See Attached.                                                                                  $305.00


 13.   Non-farm animals
       Examples: Dogs, cats, birds, horses

       ✔
       ❑   No

       ❑   Yes. Describe. .........



 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ✔
       ❑   No

       ❑   Yes. Give specific
           information. .............




Official Form 106A/B                                                Schedule A/B: Property                                              page 3
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Debtor Brock, Judy Scherff                                                                                                                           Case number (if known)




                                                                                                                                                                                          ➔
 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
                                                                                                                                                                                                                 $1,550.00
       for Part 3. Write that number here .................................................................................................................................


  Part 4:            Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                         Current value of the
                                                                                                                                                                                                     portion you own?
                                                                                                                                                                                                     Do not deduct secured
                                                                                                                                                                                                     claims or exemptions.

 16.   Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

       ❑    No
       ✔
       ❑    Yes ...................................................................................................................................................      Cash: ...................                     $3.00


 17.   Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                 and other similar institutions. If you have multiple accounts with the same institution, list each.

       ❑    No
       ✔
       ❑    Yes .....................                                                          Institution name:

                                             17.1. Checking account:                            First Financial Bank
                                                                                                                                                                                                                       $3.62
                                                                                                xxxx1201

                                             17.2. Savings account:                             First Financial Bank
                                                                                                                                                                                                                     $30.57
                                                                                                xxxx3487


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

       ✔
       ❑    No

       ❑    Yes .....................       Institution or issuer name:




 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an
       LLC, partnership, and joint venture

       ✔
       ❑    No

       ❑    Yes. Give specific
            information about
            them....................        Name of entity:                                                                                                           % of ownership:




Official Form 106A/B                                                                               Schedule A/B: Property                                                                                            page 4
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Debtor Brock, Judy Scherff                                                                                   Case number (if known)



 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

       ✔
       ❑   No

       ❑   Yes. Give specific
           information about
           them....................     Issuer name:




 21.   Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       ❑   No
       ✔
       ❑   Yes. List each
           account separately. Type of account:                   Institution name:

                                        401(k) or similar plan:    401K plan through The First Financial Bankshares                          $1,341.10


 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
                 others

       ❑   No
       ✔
       ❑   Yes ......................                        Institution name or individual:

                                        Other:                Security Deposit Unit at 4150 Pendleton Dr. Apt 217 - $250                        $0.00


 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔
       ❑   No

       ❑   Yes .....................    Issuer name and description:




 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

       ✔
       ❑   No

       ❑   Yes .....................    Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




Official Form 106A/B                                                         Schedule A/B: Property                                            page 5
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Debtor Brock, Judy Scherff                                                                             Case number (if known)



 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable
       for your benefit

       ✔
       ❑   No

       ❑   Yes. Give specific
           information about them. ...



 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

       ✔
       ❑   No

       ❑   Yes. Give specific
           information about them. ...



 27.   Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       ✔
       ❑   No

       ❑   Yes. Give specific
           information about them. ...


 Money or property owed to you?                                                                                                        Current value of the
                                                                                                                                       portion you own?
                                                                                                                                       Do not deduct secured
                                                                                                                                       claims or exemptions.

 28.   Tax refunds owed to you

       ❑   No
       ✔
       ❑   Yes. Give specific information about
                                                      12/31/2022 | 2022 tax refund (per tax return) $876. To
                them, including whether you                                                                     Federal:                                 $0.00
                                                      be applied to amounts owed to the Internal Revenue
                already filed the returns and
                                                      Service.                                                  State:
                the tax years. ...................
                                                                                                                Local:




 29.   Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property
                 settlement

       ✔
       ❑   No

       ❑   Yes. Give specific information. ........
                                                                                                                Alimony:

                                                                                                                Maintenance:

                                                                                                                Support:

                                                                                                                Divorce settlement:

                                                                                                                Property settlement:


 30.   Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

       ✔
       ❑   No

       ❑   Yes. Give specific information. ........




Official Form 106A/B                                                   Schedule A/B: Property                                                          page 6
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Debtor Brock, Judy Scherff                                                                                                             Case number (if known)



 31.   Interests in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ❑    No
       ✔
       ❑    Yes. Name the insurance company
                 of each policy and list its value. ...              Company name:                                             Beneficiary:                                       Surrender or refund value:

                                                                      Health Insurance Policy through
                                                                                                                                                                                                       $0.00
                                                                      Employer United Health Care.

                                                                      Health Insurance Policy through
                                                                                                                                                                                                       $0.00
                                                                      Medicare

                                                                      Life Insurance through Jackson                             Children
                                                                      National Life Insurance Company -                                                                                                $0.00
                                                                      Death Benefit - $50,000.00

                                                                      Renters Insurance Policy through
                                                                                                                                                                                                       $0.00
                                                                      Allstate Indemnity Company

                                                                      Vehicle Insurance Policy through
                                                                      Allstate Fire and Casualty                                                                                                       $0.00
                                                                      Insurance Company


 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
       property because someone has died.

       ✔
       ❑    No

       ❑    Yes. Give specific information. ........



 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue

       ✔
       ❑    No

       ❑    Yes. Describe each claim. ..............



 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off
       claims

       ✔
       ❑    No

       ❑    Yes. Describe each claim. ..............



 35.   Any financial assets you did not already list

       ✔
       ❑    No

       ❑    Yes. Give specific information. ........




                                                                                                                                                                              ➔
 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                                                                                                                                                                                                 $1,378.29
       for Part 4. Write that number here .................................................................................................................................


  Part 5:            Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?

       ✔
       ❑    No. Go to Part 6.

       ❑    Yes. Go to line 38.



Official Form 106A/B                                                                      Schedule A/B: Property                                                                                      page 7
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Debtor Brock, Judy Scherff                                                                      Case number (if known)



                                                                                                                                   Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured
                                                                                                                                   claims or exemptions.

 38.   Accounts receivable or commissions you already earned

       ✔
       ❑   No

       ❑   Yes. Describe. .........



 39.   Office equipment, furnishings, and supplies
       Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs,
                 electronic devices

       ✔
       ❑   No

       ❑   Yes. Describe. .........



 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔
       ❑   No

       ❑   Yes. Describe. .........



 41.   Inventory

       ✔
       ❑   No

       ❑   Yes. Describe. .........



 42.   Interests in partnerships or joint ventures

       ✔
       ❑   No

       ❑   Yes. Describe .......

                                   Name of entity:                                                       % of ownership:




 43.   Customer lists, mailing lists, or other compilations

       ✔
       ❑   No

       ❑   Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

                 ❑   No

                 ❑   Yes. Describe. .........




Official Form 106A/B                                             Schedule A/B: Property                                                            page 8
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Debtor Brock, Judy Scherff                                                                                                             Case number (if known)



 44.   Any business-related property you did not already list

       ✔
       ❑    No

       ❑    Yes. Give specific
            information .........




                                                                                                                                                                              ➔
 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
                                                                                                                                                                                                  $0.00
       for Part 5. Write that number here .................................................................................................................................


  Part 6:            Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                     If you own or have an interest in farmland, list it in Part 1.
 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

       ✔
       ❑    No. Go to Part 7.

       ❑    Yes. Go to line 47.

                                                                                                                                                                                  Current value of the
                                                                                                                                                                                  portion you own?
                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                  claims or exemptions.

 47.   Farm animals
       Examples: Livestock, poultry, farm-raised fish

       ✔
       ❑    No

       ❑    Yes ..........................



 48.   Crops—either growing or harvested

       ✔
       ❑    No

       ❑    Yes. Give specific
            information. ............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔
       ❑    No

       ❑    Yes ..........................



 50.   Farm and fishing supplies, chemicals, and feed

       ✔
       ❑    No

       ❑    Yes ..........................



 51.   Any farm- and commercial fishing-related property you did not already list

       ✔
       ❑    No

       ❑    Yes. Give specific
            information. ............




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                  page 9
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Debtor Brock, Judy Scherff                                                                                                                 Case number (if known)




                                                                                                                                                                                ➔
 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                 $0.00
       for Part 6. Write that number here .................................................................................................................................


  Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

 53.   Do you have other property of any kind you did not already list?
       Examples: Season tickets, country club membership

       ✔
       ❑    No

       ❑    Yes. Give specific
            information. ............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here .......................................................                                  ➔                $0.00



  Part 8:            List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2 ........................................................................................................................................   ➔       $10,000.00


 56.   Part 2: Total vehicles, line 5                                                                                $23,200.00

 57.   Part 3: Total personal and household items, line 15                                                             $1,550.00

 58.   Part 4: Total financial assets, line 36                                                                         $1,378.29

 59.   Part 5: Total business-related property, line 45                                                                      $0.00

 60.   Part 6: Total farm- and fishing-related property, line 52                                                             $0.00

 61.   Part 7: Total other property not listed, line 54                                            +                         $0.00


 62.   Total personal property. Add lines 56 through 61. ...............                                             $26,128.29            Copy personal property total             ➔   +   $26,128.29



 63.   Total of all property on Schedule A/B. Add line 55 + line 62. ........................................................................................                               $36,128.29




Official Form 106A/B                                                                         Schedule A/B: Property                                                                             page 10
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Debtor Brock, Judy Scherff                                                   Case number (if known)



                 Continuation Page

 6.               Household goods and furnishings

                  Area rugs (3)                                                                        $75.00

                  bed x2                                                                               $25.00

                  dining table w/chairs                                                               $125.00

                  dishes, flatware                                                                     $20.00

                  dresser, nightstand                                                                  $35.00

                  end table                                                                            $10.00

                  entertainment center                                                                 $75.00

                  home decor, wall decor                                                              $150.00

                  household tools                                                                      $25.00

                  lamp x3                                                                              $20.00

                  pots, pans, cookware                                                                 $50.00

                  small kitchen appliances                                                             $50.00

                  sofa                                                                                 $75.00

                  towels, drapes and linens                                                            $75.00


 7.               Electronics

                  cell phone                                                                           $75.00

                  dvd player                                                                           $25.00

                  personal computer                                                                   $100.00

                  television 1                                                                         $75.00

                  television 2                                                                         $50.00


 12.              Jewelry

                  costume jewelry                                                                      $25.00

                  earrings                                                                             $20.00

                  pendants                                                                            $200.00

                  rings                                                                                $25.00

                  watches                                                                              $35.00




Official Form 106A/B                                Schedule A/B: Property                            page 11
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 Fill in this information to identify your case:

  Debtor 1                    Judy                 Scherff            Brock
                              First Name           Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)         First Name           Middle Name       Last Name

  United States Bankruptcy Court for the:                        Southern District of Texas

  Case number                                                                                                                     ❑    Check if this is an
  (if known)                                                                                                                           amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar
amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit.
Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount.
However, if you claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      ❑ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
 1.

      ✔ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
      ❑

 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on               Current value of the    Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                       portion you own
                                                             Copy the value from     Check only one box for each exemption.
                                                             Schedule A/B
 Brief description:
                                                                                     ✔
                                                                                     ❑              $10,000.00                11 U.S.C. § 522(d)(5)
 Block N, lot 30, sp. 1&2                                               $10,000.00
 318 Shoreline Drive Wichita Falls, TX 76308                                         ❑   100% of fair market value, up
                                                                                         to any applicable statutory limit
 Line from
 Schedule A/B:          1.1

 Brief description:
                                                                                     ✔
                                                                                     ❑               $3,729.00                11 U.S.C. § 522(d)(2)
 2019 Chevrolet Equinox                                                 $23,200.00
 VIN: K6141963                                                                       ❑   100% of fair market value, up
                                                                                         to any applicable statutory limit
 Line from
 Schedule A/B:          3.1


 3.   Are you claiming a homestead exemption of more than $189,050?
      (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
      ✔ No
      ❑
      ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        ❑ No
        ❑ Yes




Official Form 106C                                            Schedule C: The Property You Claim as Exempt                                                   page 1 of 5
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 Debtor 1             Judy              Scherff               Brock                                          Case number (if known)
                      First Name        Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the     Amount of the exemption you claim          Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from      Check only one box for each exemption.
                                                      Schedule A/B
 Brief description:
                                                                               ✔
                                                                               ❑                $75.00                   11 U.S.C. § 522(d)(3)
 sofa                                                                 $75.00
                                                                               ❑   100% of fair market value, up
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                               ✔
                                                                               ❑                $75.00                   11 U.S.C. § 522(d)(3)
 entertainment center                                                 $75.00
                                                                               ❑   100% of fair market value, up
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                               ✔
                                                                               ❑                $10.00                   11 U.S.C. § 522(d)(3)
 end table                                                            $10.00
                                                                               ❑   100% of fair market value, up
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                               ✔
                                                                               ❑                $125.00                  11 U.S.C. § 522(d)(3)
 dining table w/chairs                                              $125.00
                                                                               ❑   100% of fair market value, up
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                               ✔
                                                                               ❑                $20.00                   11 U.S.C. § 522(d)(3)
 dishes, flatware                                                     $20.00
                                                                               ❑   100% of fair market value, up
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                               ✔
                                                                               ❑                $50.00                   11 U.S.C. § 522(d)(3)
 pots, pans, cookware                                                 $50.00
                                                                               ❑   100% of fair market value, up
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                               ✔
                                                                               ❑                $25.00                   11 U.S.C. § 522(d)(3)
 bed x2                                                               $25.00
                                                                               ❑   100% of fair market value, up
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                               ✔
                                                                               ❑                $35.00                   11 U.S.C. § 522(d)(3)
 dresser, nightstand                                                  $35.00
                                                                               ❑   100% of fair market value, up
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                               ✔
                                                                               ❑                $20.00                   11 U.S.C. § 522(d)(3)
 lamp x3                                                              $20.00
                                                                               ❑   100% of fair market value, up
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:         6




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                page 2 of 5
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 Debtor 1             Judy              Scherff               Brock                                          Case number (if known)
                      First Name        Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the     Amount of the exemption you claim          Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from      Check only one box for each exemption.
                                                      Schedule A/B
 Brief description:
                                                                               ✔
                                                                               ❑                $50.00                   11 U.S.C. § 522(d)(3)
 small kitchen appliances                                             $50.00
                                                                               ❑   100% of fair market value, up
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                               ✔
                                                                               ❑                $25.00                   11 U.S.C. § 522(d)(3)
 household tools                                                      $25.00
                                                                               ❑   100% of fair market value, up
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                               ✔
                                                                               ❑                $75.00                   11 U.S.C. § 522(d)(3)
 towels, drapes and linens                                            $75.00
                                                                               ❑   100% of fair market value, up
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                               ✔
                                                                               ❑                $150.00                  11 U.S.C. § 522(d)(3)
 home decor, wall decor                                             $150.00
                                                                               ❑   100% of fair market value, up
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                               ✔
                                                                               ❑                $75.00                   11 U.S.C. § 522(d)(3)
 Area rugs (3)                                                        $75.00
                                                                               ❑   100% of fair market value, up
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:         6

 Brief description:
                                                                               ✔
                                                                               ❑                $75.00                   11 U.S.C. § 522(d)(3)
 television 1                                                         $75.00
                                                                               ❑   100% of fair market value, up
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:         7

 Brief description:
                                                                               ✔
                                                                               ❑                $50.00                   11 U.S.C. § 522(d)(3)
 television 2                                                         $50.00
                                                                               ❑   100% of fair market value, up
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:         7

 Brief description:
                                                                               ✔
                                                                               ❑                $25.00                   11 U.S.C. § 522(d)(3)
 dvd player                                                           $25.00
                                                                               ❑   100% of fair market value, up
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:         7

 Brief description:
                                                                               ✔
                                                                               ❑                $100.00                  11 U.S.C. § 522(d)(3)
 personal computer                                                  $100.00
                                                                               ❑   100% of fair market value, up
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:         7




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                page 3 of 5
                             Case 23-32148 Document 1 Filed in TXSB on 06/07/23 Page 23 of 80

 Debtor 1             Judy              Scherff               Brock                                          Case number (if known)
                      First Name        Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the     Amount of the exemption you claim          Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from      Check only one box for each exemption.
                                                      Schedule A/B
 Brief description:
                                                                               ✔
                                                                               ❑                $75.00                   11 U.S.C. § 522(d)(3)
 cell phone                                                           $75.00
                                                                               ❑   100% of fair market value, up
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:         7

 Brief description:
                                                                               ✔
                                                                               ❑                $10.00                   11 U.S.C. § 522(d)(3)
 dvds                                                                 $10.00
                                                                               ❑   100% of fair market value, up
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:         8

 Brief description:
                                                                               ✔
                                                                               ❑                $100.00                  11 U.S.C. § 522(d)(3)
 clothing, shoes, handbags                                          $100.00
                                                                               ❑   100% of fair market value, up
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:         11

 Brief description:
                                                                               ✔
                                                                               ❑                $25.00                   11 U.S.C. § 522(d)(4)
 rings                                                                $25.00
                                                                               ❑   100% of fair market value, up
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:        12

 Brief description:
                                                                               ✔
                                                                               ❑                $35.00                   11 U.S.C. § 522(d)(4)
 watches                                                              $35.00
                                                                               ❑   100% of fair market value, up
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:        12

 Brief description:
                                                                               ✔
                                                                               ❑                $20.00                   11 U.S.C. § 522(d)(4)
 earrings                                                             $20.00
                                                                               ❑   100% of fair market value, up
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:        12

 Brief description:
                                                                               ✔
                                                                               ❑                $200.00                  11 U.S.C. § 522(d)(4)
 pendants                                                           $200.00
                                                                               ❑   100% of fair market value, up
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:        12

 Brief description:
                                                                               ✔
                                                                               ❑                $25.00                   11 U.S.C. § 522(d)(4)
 costume jewelry                                                      $25.00
                                                                               ❑   100% of fair market value, up
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:        12

 Brief description:
                                                                               ✔
                                                                               ❑                 $3.00                   11 U.S.C. § 522(d)(5)
 Cash                                                                  $3.00
                                                                               ❑   100% of fair market value, up
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:        16




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                page 4 of 5
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 Debtor 1             Judy              Scherff               Brock                                          Case number (if known)
                      First Name        Middle Name           Last Name


 Part 2: Additional Page

 Brief description of the property and line on        Current value of the     Amount of the exemption you claim          Specific laws that allow exemption
 Schedule A/B that lists this property                portion you own
                                                      Copy the value from      Check only one box for each exemption.
                                                      Schedule A/B
 Brief description:
                                                                               ✔
                                                                               ❑                 $3.62                   11 U.S.C. § 522(d)(5)
 First Financial Bank xxxx1201                                         $3.62
 Checking account                                                              ❑   100% of fair market value, up
                                                                                   to any applicable statutory limit
 Line from
 Schedule A/B:        17

 Brief description:
                                                                               ✔
                                                                               ❑                $30.57                   11 U.S.C. § 522(d)(5)
 First Financial Bank xxxx3487                                        $30.57
 Savings account                                                               ❑   100% of fair market value, up
                                                                                   to any applicable statutory limit
 Line from
 Schedule A/B:        17

 Brief description:
                                                                               ✔
                                                                               ❑               $1,341.10                 11 U.S.C. § 522(d)(12)
 401K plan through The First Financial Bankshares                 $1,341.10
                                                                               ❑   100% of fair market value, up
 Line from                                                                         to any applicable statutory limit
 Schedule A/B:        21




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                page 5 of 5
                                 Case 23-32148 Document 1 Filed in TXSB on 06/07/23 Page 25 of 80

 Fill in this information to identify your case:

  Debtor 1                       Judy                    Scherff             Brock
                                 First Name              Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)            First Name              Middle Name        Last Name

  United States Bankruptcy Court for the:                               Southern District of Texas

  Case number                                                                                                                                  ❑    Check if this is an
  (if known)                                                                                                                                        amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and
case number (if known).
1. Do any creditors have claims secured by your property?
   ❑ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
   ✔ Yes. Fill in all of the information below.
   ❑
 Part 1: List All Secured Claims

 2. List all secured claims. If a creditor has more than one secured claim, list the creditor                         Column A            Column B            Column C
    separately for each claim. If more than one creditor has a particular claim, list the other                       Amount of claim     Value of            Unsecured
    creditors in Part 2. As much as possible, list the claims in alphabetical order according to the                  Do not deduct the   collateral that     portion
    creditor’s name.                                                                                                  value of            supports this       If any
                                                                                                                      collateral.         claim

 2.1 AmeriCredit/GM Financial                               Describe the property that secures the claim:                  $21,503.08                 $0.00          $21,503.08
      Creditor's Name
                                                              2017 Ford Escape
      Attn: Bankruptcy                                        Debtor's daughter drives and pays for vehicle
      PO Box 183853
                                                            As of the date you file, the claim is: Check all that
      Number            Street
                                                            apply.
                                                            ❑ Contingent
      Arlington, TX 76096
      City                        State       ZIP Code
      Who owes the debt? Check one.                         ❑ Unliquidated
      ❑ Debtor 1 only                                       ❑ Disputed
      ❑ Debtor 2 only                                       Nature of lien. Check all that apply.
      ❑ Debtor 1 and Debtor 2 only                          ❑ An agreement you made (such as mortgage
      ✔ At least one of the debtors and
      ❑                                                         or secured car loan)
          another                                           ❑ Statutory lien (such as tax lien, mechanic's
      ❑ Check if this claim relates to a                        lien)
          community debt                                    ❑ Judgment lien from a lawsuit
      Date debt was incurred                                ❑ Other (including a right to offset)
      3/18/2017
                                                            Last 4 digits of account number 8          2      7   0

      Add the dollar value of your entries in Column A on this page. Write that number here:                                     $21,503.08




Official Form 106D                                            Schedule D: Creditors Who Have Claims Secured by Property                                             page 1 of 2
                              Case 23-32148 Document 1 Filed in TXSB on 06/07/23 Page 26 of 80

 Debtor 1              Judy                Scherff                  Brock                                          Case number (if known)
                       First Name          Middle Name              Last Name


                                                                                                             Column A            Column B           Column C
              Additional Page
                                                                                                             Amount of claim     Value of           Unsecured
  Part 1:     After listing any entries on this page, number them beginning with                             Do not deduct the   collateral that    portion
              2.3, followed by 2.4, and so forth.                                                            value of            supports this      If any
                                                                                                             collateral.         claim


 2.2 Wells Fargo Dealer Services                     Describe the property that secures the claim:                $19,471.00           $23,200.00               $0.00
     Creditor's Name
                                                      2019 Chevrolet Equinox
     PO Box 25341
     Number          Street
     Santa Ana, CA 92799-5341                        As of the date you file, the claim is: Check all that
     City                     State   ZIP Code       apply.
     Who owes the debt? Check one.                   ❑ Contingent
     ✔ Debtor 1 only
     ❑                                               ❑ Unliquidated
     ❑ Debtor 2 only                                 ❑ Disputed
     ❑ Debtor 1 and Debtor 2 only                    Nature of lien. Check all that apply.
     ❑ At least one of the debtors and               ✔ An agreement you made (such as mortgage
                                                     ❑
        another                                          or secured car loan)
     ❑ Check if this claim relates to a              ❑ Statutory lien (such as tax lien, mechanic's
        community debt                                   lien)
     Date debt was incurred                          ❑ Judgment lien from a lawsuit
     3/1/2020                                        ❑ Other (including a right to offset)
                                                     Last 4 digits of account number 3          0   0   4
     Add the dollar value of your entries in Column A on this page. Write that number here:                             $19,471.00
     If this is the last page of your form, add the dollar value totals from all pages. Write that number               $40,974.08
     here:




Official Form 106D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 2 of 2
                             Case 23-32148 Document 1 Filed in TXSB on 06/07/23 Page 27 of 80
 Fill in this information to identify your case:

  Debtor 1                  Judy                   Scherff           Brock
                            First Name             Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)       First Name             Middle Name       Last Name

  United States Bankruptcy Court for the:                        Southern District of Texas

  Case number                                                                                                                          ❑    Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other
party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form
106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that
are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in
the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ❑ No. Go to Part 2.
     ✔ Yes.
     ❑
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each
     claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority
     amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims,
     fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                             Total       Priority       Nonpriority
                                                                                                                             claim       amount         amount

2.1      Internal Revenue Service                                                                                             $2,424.05       $2,424.05           $0.00
                                                                   Last 4 digits of account number
        Priority Creditor's Name
                                                                   When was the debt incurred? 2018
         Centralized Insolvency Operations                         As of the date you file, the claim is: Check all that
         Po Box 7346                                               apply.
        Number          Street                                     ❑ Contingent
         Philadelphia, PA 19101-7346                               ❑ Unliquidated
        City                             State     ZIP Code        ❑ Disputed
        Who incurred the debt? Check one.
        ✔ Debtor 1 only
        ❑
                                                                   Type of PRIORITY unsecured claim:
                                                                   ❑ Domestic support obligations
        ❑ Debtor 2 only                                            ✔ Taxes and certain other debts you owe the
                                                                   ❑
        ❑ Debtor 1 and Debtor 2 only                                  government
        ❑ At least one of the debtors and another                  ❑ Claims for death or personal injury while you
        ❑ Check if this claim is for a community debt                 were intoxicated
                                                                   ❑ Other. Specify
        Is the claim subject to offset?
        ✔ No
        ❑
        ❑ Yes
         Remarks: 2022




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                             page 1 of 16
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 Debtor 1             Judy                 Scherff                Brock                                           Case number (if known)
                      First Name           Middle Name            Last Name

 Part 1: Your PRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                 Total      Priority       Nonpriority
                                                                                                                         claim      amount         amount

2.2     Internal Revenue Service                                                                                           $4,919.84       $4,919.84        $0.00
                                                                 Last 4 digits of account number
       Priority Creditor's Name
                                                                 When was the debt incurred?
        Centralized Insolvency Operations
                                                                 As of the date you file, the claim is: Check all that
        Po Box 7346                                              apply.
       Number          Street
        Philadelphia, PA 19101-7346
                                                                 ❑   Contingent
       City                            State    ZIP Code         ❑   Unliquidated
       Who incurred the debt? Check one.                         ❑   Disputed
       ✔
       ❑      Debtor 1 only                                      Type of PRIORITY unsecured claim:
       ❑      Debtor 2 only                                      ❑   Domestic support obligations
       ❑      Debtor 1 and Debtor 2 only                         ✔
                                                                 ❑   Taxes and certain other debts you owe the
       ❑      At least one of the debtors and another                government

       ❑                                                         ❑   Claims for death or personal injury while you
              Check if this claim is for a community debt
                                                                     were intoxicated
       Is the claim subject to offset?                           ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
        Remarks: 2021




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 2 of 16
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 Debtor 1             Judy                  Scherff                Brock                                            Case number (if known)
                      First Name            Middle Name            Last Name

 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔
      ❑     Yes.
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part
     1. If more than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the
     Continuation Page of Part 2.
                                                                                                                                                   Total claim

4.1     AmeriCredit/GM Financial                                             Last 4 digits of account number 5965                                                $0.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?        10/01/2016
        Attn.: AmeriCredit Dept
                                                                             As of the date you file, the claim is: Check all that apply.
        P.O. Box 183853                                                      ❑ Contingent
                                                                             ❑
       Number          Street
                                                                                 Unliquidated
        Arlington, TX 76096
       City                            State     ZIP Code                    ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                     ❑ Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                             ❑
                                                                                 divorce that you did not report as priority claims
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?                                           Automobile
       ✔ No
       ❑
       ❑      Yes

4.2     Barclays Bank Delaware                                               Last 4 digits of account number 2818                                                $0.00
       Nonpriority Creditor's Name
                                                                             When was the debt incurred?        06/01/2012
        Attn: Bankruptcy
                                                                             As of the date you file, the claim is: Check all that apply.
        Po Box 8802                                                          ❑ Contingent
                                                                             ❑
       Number          Street
                                                                                 Unliquidated
        Wilmington, DE 19899-8802
       City                            State     ZIP Code                    ❑   Disputed
       Who incurred the debt? Check one.                                     Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                     ❑ Student loans
       ❑      Debtor 2 only                                                  ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only
                                                                             ❑
                                                                                 divorce that you did not report as priority claims
                                                                                 Debts to pension or profit-sharing plans, and other
       ❑      At least one of the debtors and another                            similar debts
       ❑      Check if this claim is for a community debt                    ✔
                                                                             ❑   Other. Specify
       Is the claim subject to offset?                                           CreditCard
       ✔ No
       ❑
       ❑      Yes




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                              page 3 of 16
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 Debtor 1             Judy                 Scherff                Brock                                         Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                 Total claim

4.3     Capital One                                                       Last 4 digits of account number 7136                                  $5,794.00
       Nonpriority Creditor's Name
                                                                          When was the debt incurred?        03/01/2012
        1680 Capital One Dr
                                                                          As of the date you file, the claim is: Check all that apply.
       Number          Street
        Mc Lean, VA 22102-3407
                                                                          ❑   Contingent
       City                            State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                  ❑   Disputed
       ✔
       ❑      Debtor 1 only                                               Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                               ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                  ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                         divorce that you did not report as priority claims

       ❑                                                                  ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                     similar debts
       Is the claim subject to offset?                                    ✔
                                                                          ❑   Other. Specify
       ✔
       ❑      No                                                              CreditCard
       ❑      Yes

4.4     Comenitybank/onestop                                              Last 4 digits of account number 7663                                         $0.00
       Nonpriority Creditor's Name
                                                                          When was the debt incurred?        06/01/2012
        Attn: Bankruptcy
                                                                          As of the date you file, the claim is: Check all that apply.
        PO Box 18125
       Number          Street
                                                                          ❑   Contingent

        Columbus, OH 43218
                                                                          ❑   Unliquidated
       City                            State    ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                  Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                               ❑   Student loans
       ❑      Debtor 2 only                                               ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                      divorce that you did not report as priority claims
                                                                          ❑
       ❑      At least one of the debtors and another
                                                                              Debts to pension or profit-sharing plans, and other
                                                                              similar debts
       ❑      Check if this claim is for a community debt                 ✔
                                                                          ❑   Other. Specify
       Is the claim subject to offset?                                        ChargeAccount
       ✔
       ❑      No
       ❑      Yes




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                    page 4 of 16
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 Debtor 1             Judy                 Scherff                Brock                                         Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                 Total claim

4.5     Credit One Bank                                                   Last 4 digits of account number 3552                                  $1,609.00
       Nonpriority Creditor's Name
                                                                          When was the debt incurred?        09/01/2013
        P.O. Box 60508
                                                                          As of the date you file, the claim is: Check all that apply.
       Number          Street
        City of Industry, CA 91716-0500
                                                                          ❑   Contingent
       City                            State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                  ❑   Disputed
       ✔
       ❑      Debtor 1 only                                               Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                               ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                  ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                         divorce that you did not report as priority claims

       ❑                                                                  ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                     similar debts
       Is the claim subject to offset?                                    ✔
                                                                          ❑   Other. Specify
       ✔
       ❑      No                                                              CreditCard
       ❑      Yes

4.6     First Financial Bank/Elan Credit                                  Last 4 digits of account number 9404                                 $10,210.40
       Nonpriority Creditor's Name
                                                                          When was the debt incurred?        10/07/2019
        P O Box 790408
                                                                          As of the date you file, the claim is: Check all that apply.
       Number          Street
        St Louis, MO 63179-0408
                                                                          ❑   Contingent
       City                            State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                  ❑   Disputed
       ✔
       ❑      Debtor 1 only                                               Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                               ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                  ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                         divorce that you did not report as priority claims

       ❑                                                                  ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                     similar debts
       Is the claim subject to offset?                                    ✔
                                                                          ❑   Other. Specify
       ✔
       ❑      No                                                              credit card
       ❑      Yes




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                    page 5 of 16
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 Debtor 1             Judy                 Scherff                Brock                                         Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                 Total claim

4.7     First Premier Bank                                                Last 4 digits of account number 9426                                  $1,405.00
       Nonpriority Creditor's Name
                                                                          When was the debt incurred?        07/01/2018
        PO Box 5114
                                                                          As of the date you file, the claim is: Check all that apply.
       Number          Street
        Sioux Falls, SD 57117-51145
                                                                          ❑   Contingent
       City                            State    ZIP Code                  ❑   Unliquidated
       Who incurred the debt? Check one.                                  ❑   Disputed
       ✔
       ❑      Debtor 1 only                                               Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                               ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                  ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                         divorce that you did not report as priority claims

       ❑                                                                  ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                     similar debts
       Is the claim subject to offset?                                    ✔
                                                                          ❑   Other. Specify
       ✔
       ❑      No                                                              CreditCard
       ❑      Yes

4.8     Genesis FS Card Services                                          Last 4 digits of account number 1242                                    $706.00
       Nonpriority Creditor's Name
                                                                          When was the debt incurred?        09/01/2022
        Attn: Bankruptcy
                                                                          As of the date you file, the claim is: Check all that apply.
        PO Box 4477
       Number          Street
                                                                          ❑   Contingent

        Beaverton, OR 97076
                                                                          ❑   Unliquidated
       City                            State    ZIP Code                  ❑   Disputed
       Who incurred the debt? Check one.                                  Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                               ❑   Student loans
       ❑      Debtor 2 only                                               ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                      divorce that you did not report as priority claims
                                                                          ❑
       ❑      At least one of the debtors and another
                                                                              Debts to pension or profit-sharing plans, and other
                                                                              similar debts
       ❑      Check if this claim is for a community debt                 ✔
                                                                          ❑   Other. Specify
       Is the claim subject to offset?                                        CreditCard
       ✔
       ❑      No
       ❑      Yes




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 Debtor 1             Judy                 Scherff                Brock                                             Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                     Total claim

4.9     Greater Tx F C U                                                      Last 4 digits of account number 2600                                         $0.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        06/01/2008
        6411 N Lamar Blvd
                                                                              As of the date you file, the claim is: Check all that apply.
       Number          Street
        Austin, TX 78752
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  UnknownLoanType
       ❑      Yes

4.10    Jefferson Capital Systems, LLC                                        Last 4 digits of account number 1003                                   $1,831.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        07/01/2022
        16 McLeland Road
                                                                              As of the date you file, the claim is: Check all that apply.
       Number          Street
        Saint Cloud, MN 56303
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  FactoringCompanyAccount
       ❑      Yes




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 Debtor 1             Judy                 Scherff                Brock                                             Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                     Total claim

4.11    Kohls/Capital One                                                     Last 4 digits of account number 8430                                   $1,032.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        09/01/2018
        Attn: Credit Administrator
                                                                              As of the date you file, the claim is: Check all that apply.
        PO Box 3043
       Number          Street
                                                                              ❑   Contingent

        Milwaukee, WI 53201-3043
                                                                              ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                              ❑
       ❑      At least one of the debtors and another
                                                                                  Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       ❑      Check if this claim is for a community debt                     ✔
                                                                              ❑   Other. Specify
       Is the claim subject to offset?                                            ChargeAccount
       ✔
       ❑      No
       ❑      Yes

4.12    Merrick Bank/CCHoldings                                               Last 4 digits of account number 4073                                   $2,699.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        12/01/2016
        Attn: Bankruptcy
                                                                              As of the date you file, the claim is: Check all that apply.
        P.O. Box 9201
       Number          Street
                                                                              ❑   Contingent

        Old Bethpage, NY 11804-9001
                                                                              ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                              ❑
       ❑      At least one of the debtors and another
                                                                                  Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       ❑      Check if this claim is for a community debt                     ✔
                                                                              ❑   Other. Specify
       Is the claim subject to offset?                                            CreditCard
       ✔
       ❑      No
       ❑      Yes




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 Debtor 1             Judy                 Scherff                Brock                                             Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                     Total claim

4.13    Resurgent Capital Services                                            Last 4 digits of account number 0693                                   $2,061.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        09/01/2022
        P.O. Box 10587
                                                                              As of the date you file, the claim is: Check all that apply.
       Number          Street
        Greenville, SC 29603
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  FactoringCompanyAccount
       ❑      Yes

4.14    Resurgent Capital Services                                            Last 4 digits of account number 3552                                   $1,609.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        02/01/2023
        P.O. Box 10587
                                                                              As of the date you file, the claim is: Check all that apply.
       Number          Street
        Greenville, SC 29603
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  FactoringCompanyAccount
       ❑      Yes




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 Debtor 1             Judy                 Scherff                Brock                                             Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                     Total claim

4.15    St Joseph Hospital                                                    Last 4 digits of account number 0133                                 $91,000.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        02/11/2023
        2900 Franciscian
                                                                              As of the date you file, the claim is: Check all that apply.
       Number          Street
        Bryan, TX 77802
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ❑   Unliquidated
       Who incurred the debt? Check one.                                      ✔
                                                                              ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  medical bill
       ❑      Yes

4.16    SYNCB/Texaco                                                          Last 4 digits of account number 4844                                         $0.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        06/01/1995
        Attn: Bankruptcy
                                                                              As of the date you file, the claim is: Check all that apply.
        PO Box 965060
       Number          Street
                                                                              ❑   Contingent

        Orlando, FL 32896-5060
                                                                              ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                              ❑
       ❑      At least one of the debtors and another
                                                                                  Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       ❑      Check if this claim is for a community debt                     ✔
                                                                              ❑   Other. Specify
       Is the claim subject to offset?                                            UnknownLoanType
       ✔
       ❑      No
       ❑      Yes




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 Debtor 1             Judy                 Scherff                Brock                                             Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                     Total claim

4.17    Synchrony Bank/Care Credit                                            Last 4 digits of account number 6637                                         $0.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        06/26/2017
        Attn: Bankruptcy Dept
                                                                              As of the date you file, the claim is: Check all that apply.
        PO Box 965064
       Number          Street
                                                                              ❑   Contingent

        Orlando, FL 32896-5060
                                                                              ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                              ❑
       ❑      At least one of the debtors and another
                                                                                  Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       ❑      Check if this claim is for a community debt                     ✔
                                                                              ❑   Other. Specify
       Is the claim subject to offset?                                            ChargeAccount
       ✔
       ❑      No
       ❑      Yes

4.18    Synchrony Bank/QVC                                                    Last 4 digits of account number 2362                                    $296.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        01/01/2017
        Attn: Bankruptcy Dept
                                                                              As of the date you file, the claim is: Check all that apply.
        PO Box 965060
       Number          Street
                                                                              ❑   Contingent

        Orlando, FL 32896
                                                                              ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                              ❑
       ❑      At least one of the debtors and another
                                                                                  Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       ❑      Check if this claim is for a community debt                     ✔
                                                                              ❑   Other. Specify
       Is the claim subject to offset?                                            ChargeAccount
       ✔
       ❑      No
       ❑      Yes




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 Debtor 1             Judy                 Scherff                Brock                                             Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                     Total claim

4.19    Texas A&M Vet MTH                                                                                                                             $450.00
                                                                              Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?
        408 Raymond Stotzer Pkwy. Bldg. 1085
       Number          Street                                                 As of the date you file, the claim is: Check all that apply.
        College Station, TX 77845                                             ❑   Contingent
       City                            State    ZIP Code                      ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ✔
       ❑      Debtor 1 only
                                                                              Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims
       ❑      Check if this claim is for a community debt
                                                                              ❑   Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑
       ✔
       ❑      No
                                                                                  Other. Specify

       ❑      Yes

4.20    U.S. Bankcorp                                                         Last 4 digits of account number 9404                                 $10,571.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        02/01/2020
        Attn: Bankruptcy
                                                                              As of the date you file, the claim is: Check all that apply.
        800 Nicollet Mall
       Number          Street
                                                                              ❑   Contingent

        Minneapolis, MN 55402
                                                                              ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                              ❑
       ❑      At least one of the debtors and another
                                                                                  Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       ❑      Check if this claim is for a community debt                     ✔
                                                                              ❑   Other. Specify
       Is the claim subject to offset?                                            CreditCard
       ✔
       ❑      No
       ❑      Yes




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 Debtor 1             Judy                 Scherff                Brock                                             Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                     Total claim

4.21    Walmart Credit Services/Capital One                                   Last 4 digits of account number 7231                                         $0.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        10/05/2017
        Attn: Bankruptcy
                                                                              As of the date you file, the claim is: Check all that apply.
        PO Box 30285
       Number          Street
                                                                              ❑   Contingent

        Salt Lake City, UT 84130-0285
                                                                              ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                              ❑
       ❑      At least one of the debtors and another
                                                                                  Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       ❑      Check if this claim is for a community debt                     ✔
                                                                              ❑   Other. Specify
       Is the claim subject to offset?                                            ChargeAccount
       ✔
       ❑      No
       ❑      Yes

4.22    Walmart Credit Services/Capital One                                   Last 4 digits of account number 2346                                         $0.00
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        05/31/2013
        Attn: Bankruptcy
                                                                              As of the date you file, the claim is: Check all that apply.
        PO Box 30285
       Number          Street
                                                                              ❑   Contingent

        Salt Lake City, UT 84130-0285
                                                                              ❑   Unliquidated
       City                            State    ZIP Code                      ❑   Disputed
       Who incurred the debt? Check one.                                      Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                   ❑   Student loans
       ❑      Debtor 2 only                                                   ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                          divorce that you did not report as priority claims
                                                                              ❑
       ❑      At least one of the debtors and another
                                                                                  Debts to pension or profit-sharing plans, and other
                                                                                  similar debts
       ❑      Check if this claim is for a community debt                     ✔
                                                                              ❑   Other. Specify
       Is the claim subject to offset?                                            ChargeAccount
       ✔
       ❑      No
       ❑      Yes




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 Debtor 1             Judy                 Scherff                Brock                                             Case number (if known)
                      First Name           Middle Name            Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                     Total claim

4.23    Walmart/ Capital One                                                  Last 4 digits of account number 9607                                   $1,981.28
       Nonpriority Creditor's Name
                                                                              When was the debt incurred?        09/12/2017
        P O Box 30285
                                                                              As of the date you file, the claim is: Check all that apply.
       Number          Street
        Salt Lake City, UT 84130-0285
                                                                              ❑   Contingent
       City                            State    ZIP Code                      ❑   Unliquidated
       Who incurred the debt? Check one.                                      ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                   Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                   ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                      ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                             divorce that you did not report as priority claims

       ❑                                                                      ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                         similar debts
       Is the claim subject to offset?                                        ✔
                                                                              ❑   Other. Specify
       ✔
       ❑      No                                                                  credit card
       ❑      Yes




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 Debtor 1           Judy                 Scherff                Brock                                          Case number (if known)
                    First Name           Middle Name             Last Name

 Part 3: List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
     collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection
     agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you
     do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
        Jefferson Capital                                          On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                   Line 4.23 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        16 McLeland Rd
       Number          Street                                                                  ✔
                                                                                               ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        St Cloud, MN 56303
       City                                State     ZIP Code      Last 4 digits of account number

        Resurgent Capital Services                                 On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        PO Box 1269                                                Line   4.5
       Number          Street                                                                  ✔
                                                                                               ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        City of Industry, CA 91716
       City                                State     ZIP Code      Last 4 digits of account number

        Texas A&M Veterinary MTH                                   On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                   Line 4.19 of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
        4457 TAMU
       Number          Street                                                                  ✔
                                                                                               ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        College Station, TX 77843
       City                                State     ZIP Code      Last 4 digits of account number

                                                                   On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                   Line
       Number          Street                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims

                                                                   Last 4 digits of account number

       City                                State     ZIP Code




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 Debtor 1          Judy                   Scherff               Brock                                     Case number (if known)
                   First Name             Middle Name           Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts
     for each type of unsecured claim.




                                                                                         Total claim


                   6a. Domestic support obligations                           6a.                             $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the              6b.                         $7,343.89
                       government

                   6c. Claims for death or personal injury while you          6c.                             $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.        6d.   +                         $0.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                        6e.                          $7,343.89




                                                                                         Total claim


                   6f. Student loans                                          6f.                             $0.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                6g.                             $0.00
                       agreement or divorce that you did not report
                       as priority claims

                   6h. Debts to pension or profit-sharing plans, and          6h.                             $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured             6i.   +                  $133,254.68
                       claims. Write that amount here.

                   6j. Total. Add lines 6f through 6i.                        6j.                       $133,254.68




Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                    page 16 of 16
                                    Case 23-32148 Document 1 Filed in TXSB on 06/07/23 Page 43 of 80

 Fill in this information to identify your case:

     Debtor 1                       Judy                 Scherff            Brock
                                    First Name           Middle Name        Last Name

     Debtor 2
     (Spouse, if filing)            First Name           Middle Name        Last Name

     United States Bankruptcy Court for the:                            Southern District of Texas

     Case number                                                                                                                           ❑   Check if this is an
     (if known)                                                                                                                                amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and
case number (if known).

 1.     Do you have any executory contracts or unexpired leases?
        ❑ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
        ❑
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example,
       rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired
       leases.



       Person or company with whom you have the contract or lease                                State what the contract or lease is for

2.1                                                                                                  Contract for Servies
        AT&T                                                                                         Contract to be ASSUMED
        Name
        P.O. Box 650574
        Number     Street
        Dallas, TX 75263
        City                                     State   ZIP Code

2.2                                                                                                  Lease
        Hudson Trails Apartments                                                                     Contract to be ASSUMED
        Name
        4150 Pendleton Dr
        Number     Street
        Bryan, TX 77802
        City                                     State   ZIP Code

2.3

        Name

        Number             Street

        City                                     State   ZIP Code

2.4

        Name

        Number             Street

        City                                     State   ZIP Code




Official Form 106G                                                 Schedule G: Executory Contracts and Unexpired Leases                                         page 1 of 1
                                 Case 23-32148 Document 1 Filed in TXSB on 06/07/23 Page 44 of 80

 Fill in this information to identify your case:

  Debtor 1                       Judy                   Scherff          Brock
                                 First Name            Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)            First Name            Middle Name       Last Name

  United States Bankruptcy Court for the:                            Southern District of Texas

  Case number                                                                                                                         ❑    Check if this is an
  (if known)                                                                                                                               amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                       12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing
together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries
in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer
every question.
 1.     Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
        ❑ No
        ✔ Yes
        ❑
 2.     Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California,
        Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        ❑ No. Go to line 3.
        ✔ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
        ❑
          ✔ No
          ❑
          ❑ Yes. In which community state or territory did you live?                                        . Fill in the name and current address of that person.


                Name

                Number           Street

                City                                  State   ZIP Code

 3.     In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2
        again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
        Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

      Column 1: Your codebtor                                                                             Column 2: The creditor to whom you owe the debt
                                                                                                           Check all schedules that apply:
3.1
      Walker, Summer
                                                                                                           ✔ Schedule D, line 2.1
                                                                                                           ❑
      Name
      4150 Pendleton 212
                                                                                                           ❑ Schedule E/F, line
      Number            Street                                                                             ❑ Schedule G, line
      Bryan, TX 77802
      City                                    State   ZIP Code




Official Form 106H                                                           Schedule H: Your Codebtors                                                     Page 1 of 1
                            Case 23-32148 Document 1 Filed in TXSB on 06/07/23 Page 45 of 80

 Fill in this information to identify your case:

  Debtor 1                  Judy                   Scherff           Brock
                           First Name              Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name       Last Name                                               Check if this is:

  United States Bankruptcy Court for the:                        Southern District of Texas                                  ❑ An amended filing
                                                                                                                             ❑ A supplement showing postpetition
  Case number                                                                                                                   chapter 13 income as of the following date:
  (if known)

                                                                                                                                MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                              Debtor 1                                            Debtor 2 or non-filing spouse


     If you have more than one job,          Employment status            ✔ Employed ❑ Not Employed
                                                                          ❑                                                   ❑ Employed ❑ Not Employed
     attach a separate page with
     information about additional            Occupation                   Receptionist/Teller
     employers.
                                             Employer's name              First Financial Bank
     Include part time, seasonal, or
     self-employed work.
                                             Employer's address           400 Pine St
     Occupation may include student                                        Number Street                                       Number Street
     or homemaker, if it applies.




                                                                          Abilene, TX 79601
                                                                           City                     State     Zip Code         City                State     Zip Code
                                             How long employed there? 5 years



 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
     unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
     more space, attach a separate sheet to this form.

                                                                                                        For Debtor 1     For Debtor 2 or
                                                                                                                         non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.            2.               $2,704.67                     $0.00

 3. Estimate and list monthly overtime pay.                                                3.   +               $0.00    +                $0.00


 4. Calculate gross income. Add line 2 + line 3.                                           4.               $2,704.67                     $0.00




Official Form 106I                                                         Schedule I: Your Income                                                                page 1
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 Debtor 1                 Judy                         Scherff                         Brock                                         Case number (if known)
                          First Name                   Middle Name                      Last Name


                                                                                                                           For Debtor 1       For Debtor 2 or
                                                                                                                                              non-filing spouse
       Copy line 4 here....................................................................................➔   4.            $2,704.67                    $0.00
 5.    List all payroll deductions:
       5a. Tax, Medicare, and Social Security deductions                                                       5a.             $315.32                    $0.00
       5b. Mandatory contributions for retirement plans                                                        5b.               $0.00                    $0.00
       5c. Voluntary contributions for retirement plans                                                        5c.             $250.00                    $0.00
       5d. Required repayments of retirement fund loans                                                        5d.               $0.00                    $0.00
       5e. Insurance                                                                                           5e.             $158.38                    $0.00
       5f. Domestic support obligations                                                                        5f.               $0.00                    $0.00
       5g. Union dues                                                                                          5g.               $0.00                    $0.00

       5h. Other deductions. Specify:                                                                          5h.   +           $0.00        +           $0.00

 6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                             6.              $723.70                    $0.00
 7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                     7.            $1,980.97                    $0.00
 8.    List all other income regularly received:
       8a. Net income from rental property and from operating a business,
           profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                                                8a.               $0.00                    $0.00
       8b. Interest and dividends                                                                              8b.               $0.00                    $0.00
       8c. Family support payments that you, a non-filing spouse, or a
           dependent regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                               8c.               $0.00                    $0.00
       8d. Unemployment compensation                                                                           8d.               $0.00                    $0.00
       8e. Social Security                                                                                     8e.           $2,960.90                    $0.00
       8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash
            assistance that you receive, such as food stamps (benefits under the
            Supplemental Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                                           8f.               $0.00                    $0.00
       8g. Pension or retirement income                                                                        8g.               $0.00                    $0.00

       8h. Other monthly income. Specify:                                                                      8h.   +           $0.00        +           $0.00


 9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                   9.            $2,960.90                    $0.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                 10.           $4,941.87    +               $0.00         =          $4,941.87

 11.   State all other regular contributions to the expenses that you list in Schedule J.
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
       friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

       Specify:                                                                                                                                                   11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                      12.             $4,941.87

                                                                                                                                                                            Combined
                                                                                                                                                                            monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
       ✔ No.
       ❑
       ❑ Yes. Explain:

Official Form 106I                                                                               Schedule I: Your Income                                                             page 2
                            Case 23-32148 Document 1 Filed in TXSB on 06/07/23 Page 47 of 80

 Fill in this information to identify your case:

  Debtor 1                  Judy                    Scherff              Brock
                           First Name               Middle Name         Last Name                                Check if this is:
                                                                                                                 ❑ An amended filing
  Debtor 2
  (Spouse, if filing)      First Name               Middle Name         Last Name                                ❑ A supplement showing postpetition chapter 13
                                                                                                                      expenses as of the following date:
  United States Bankruptcy Court for the:                          Southern District of Texas
                                                                                                                      MM / DD / YYYY
  Case number
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?
     ✔ No. Go to line 2.
     ❑
     ❑ Yes. Does Debtor 2 live in a separate household?
             ❑ No
             ❑ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                    ✔ No
                                               ❑
     Do not list Debtor 1 and                  ❑ Yes. Fill out this information         Dependent's relationship to        Dependent's        Does dependent live
     Debtor 2.                                                                          Debtor 1 or Debtor 2               age                with you?
                                                    for each dependent...............
     Do not state the dependents'
     names.                                                                                                                                    ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
 3. Do your expenses include                       ✔ No
                                                   ❑
    expenses of people other than
    yourself and your dependents?
                                                   ❑ Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a
 date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                 Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent
    for the ground or lot.                                                                                                    4.                    $1,238.53


     If not included in line 4:
                                                                                                                              4a.                           $0.00
     4a. Real estate taxes
                                                                                                                              4b.                          $35.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                              4c.                           $0.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                              4d.
     4d. Homeowner's association or condominium dues                                                                                                        $0.00




Official Form 106J                                                                Schedule J: Your Expenses                                                         page 1
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 Debtor 1             Judy                  Scherff               Brock                                      Case number (if known)
                      First Name            Middle Name           Last Name


                                                                                                                             Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                                  5.                         $0.00

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                          6a.                   $100.00

       6b. Water, sewer, garbage collection                                                                        6b.                       $50.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.                   $130.00

       6d. Other. Specify:                            Cable                                                        6d.                   $193.00

 7.    Food and housekeeping supplies                                                                              7.                    $500.00

 8.    Childcare and children’s education costs                                                                    8.                         $0.00

 9.    Clothing, laundry, and dry cleaning                                                                         9.                    $125.00

 10. Personal care products and services                                                                           10.                   $150.00

 11.   Medical and dental expenses                                                                                 11.                   $200.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                  12.                   $350.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.                   $150.00

 14. Charitable contributions and religious donations                                                              14.                        $0.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                                   15a.                       $0.00
       15a. Life insurance
       15b. Health insurance                                                                                       15b.                       $0.00

       15c. Vehicle insurance                                                                                      15c.                  $303.00

       15d. Other insurance. Specify:                                                                              15d.                       $0.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                    16.                        $0.00

 17. Installment or lease payments:
                                                                                                                   17a.                  $564.00
       17a. Car payments for Vehicle 1
                                                                                                                   17b.                       $0.00
       17b. Car payments for Vehicle 2
                                                                                                                   17c.                       $0.00
       17c. Other. Specify:
                                                                                                                   17d.                       $0.00
       17d. Other. Specify:

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.                        $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                    19.                        $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                            20a.                       $0.00
       20b. Real estate taxes                                                                                      20b.                       $0.00
       20c. Property, homeowner’s, or renter’s insurance                                                           20c.                       $0.00
       20d. Maintenance, repair, and upkeep expenses                                                               20d.                       $0.00
       20e. Homeowner’s association or condominium dues                                                            20e.                       $0.00



Official Form 106J                                                          Schedule J: Your Expenses                                                 page 2
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 Debtor 1            Judy                Scherff               Brock                                        Case number (if known)
                     First Name          Middle Name           Last Name



 21. Other. Specify:                   See Additional Page                                                        21.     +            $716.40

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                22a.               $4,804.93

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                        22b.                   $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                             22c.               $4,804.93


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                           23a.               $4,941.87

      23b. Copy your monthly expenses from line 22c above.                                                        23b.    –          $4,804.93

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                                  23c.                $136.94
            The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑ Yes.




Official Form 106J                                                       Schedule J: Your Expenses                                               page 3
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 Debtor 1            Judy                Scherff           Brock                               Case number (if known)
                     First Name          Middle Name       Last Name




                                                                                                                        Amount


   21. Other
       Medicare Insurance deductions taken directly SSA.                                                                $164.90
       Medicare Prescription Drug Plan                                                                                   $24.30
       Voluntary Federal Tax Withholding                                                                                $277.20
       IRS - Instalment payments                                                                                        $250.00




Official Form 106J                                                 Schedule J: Your Expenses                                page 4
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 Fill in this information to identify your case:

  Debtor 1                      Judy                        Scherff                  Brock
                               First Name                  Middle Name              Last Name

  Debtor 2
  (Spouse, if filing)          First Name                  Middle Name              Last Name

  United States Bankruptcy Court for the:                                     Southern District of Texas

  Case number                                                                                                                                                            ❑   Check if this is an
  (if known)                                                                                                                                                                 amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all
of your schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a
new Summary and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                              Your assets
                                                                                                                                                                              Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                       $10,000.00

    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                            $26,128.29

    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                       $36,128.29



 Part 2: Summarize Your Liabilities



                                                                                                                                                                              Your liabilities
                                                                                                                                                                              Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                               $40,974.08

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................                                                         $7,343.89


    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                        +             $133,254.68


                                                                                                                                                  Your total liabilities                    $181,572.65

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                       $4,941.87


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                     $4,804.93




Official Form 106Sum                                           Summary of Your Assets and Liabilities and Certain Statistical Information                                                          page 1 of 2
                           Case 23-32148 Document 1 Filed in TXSB on 06/07/23 Page 52 of 80

Debtor 1            Judy                  Scherff                 Brock                                          Case number (if known)
                    First Name            Middle Name             Last Name



Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑   No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔
   ❑   Yes



7. What kind of debt do you have?
   ✔
   ❑   Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
       family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑   Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
       this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                       $1,595.02




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                              Total claim

     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                            $0.00



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                               $7,343.89



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                         $0.00



    9d. Student loans. (Copy line 6f.)                                                                                          $0.00



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                         $0.00
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                +                     $0.00



    9g. Total. Add lines 9a through 9f.                                                                                     $7,343.89




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                  page 2 of 2
                            Case 23-32148 Document 1 Filed in TXSB on 06/07/23 Page 53 of 80

 Fill in this information to identify your case:

  Debtor 1                  Judy                   Scherff           Brock
                            First Name             Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)       First Name             Middle Name       Last Name

  United States Bankruptcy Court for the:                        Southern District of Texas

  Case number                                                                                                                       ❑    Check if this is an
  (if known)                                                                                                                             amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                             12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑ Yes. Name of person                                                              . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                        Signature (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ Judy Scherff Brock
        Judy Scherff Brock, Debtor 1


        Date 06/07/2023
                 MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
                            Case 23-32148 Document 1 Filed in TXSB on 06/07/23 Page 54 of 80

 Fill in this information to identify your case:

  Debtor 1                  Judy                   Scherff            Brock
                           First Name              Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name        Last Name

  United States Bankruptcy Court for the:                         Southern District of Texas

  Case number                                                                                                                        ❑   Check if this is an
  (if known)                                                                                                                             amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                           04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ❑ Married
    ✔ Not married
    ❑
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
      Debtor 1:                                               Dates Debtor 1 lived    Debtor 2:                                           Dates Debtor 2 lived
                                                              there                                                                       there


                                                                                     ❑ Same as Debtor 1                                  ❑ Same as Debtor 1
                                                             From                                                                        From
    Number       Street                                                                Number     Street
                                                             To                                                                          To



    City                            State ZIP Code                                     City                         State ZIP Code



                                                                                     ❑ Same as Debtor 1                                  ❑ Same as Debtor 1
                                                             From                                                                        From
    Number       Street                                                                Number     Street
                                                             To                                                                          To



    City                            State ZIP Code                                     City                         State ZIP Code




  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and
  territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ✔ No
    ❑
    ❑ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 1
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Debtor 1            Judy              Scherff                 Brock                                          Case number (if known)
                    First Name        Middle Name             Last Name
 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                 Debtor 1                                               Debtor 2

                                                 Sources of income          Gross Income                Sources of income           Gross Income
                                                 Check all that apply.      (before deductions and      Check all that apply.       (before deductions and
                                                                            exclusions)                                             exclusions)

                                                ✔ Wages, commissions,
                                                ❑                                                      ❑ Wages, commissions,
    From January 1 of current year until the                                8,128.21 (estimated)
    date you filed for bankruptcy:                  bonuses, tips                                          bonuses, tips
                                                ❑ Operating a business                                 ❑ Operating a business

    For last calendar year:                     ✔ Wages, commissions,
                                                ❑                                                      ❑ Wages, commissions,
                                                    bonuses, tips                     $29,033.08           bonuses, tips
    (January 1 to December 31, 2022       )
                                   YYYY         ❑ Operating a business                                 ❑ Operating a business

    For the calendar year before that:          ✔ Wages, commissions,
                                                ❑                                                      ❑ Wages, commissions,
                                                    bonuses, tips                     $26,904.00           bonuses, tips
    (January 1 to December 31, 2021       )
                                   YYYY         ❑ Operating a business                                 ❑ Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other
  public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are
  filing a joint case and you have income that you received together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                 Debtor 1                                               Debtor 2

                                                 Sources of income          Gross income from           Sources of income           Gross Income from
                                                 Describe below.            each source                 Describe below.             each source
                                                                            (before deductions and                                  (before deductions and
                                                                            exclusions)                                             exclusions)


    From January 1 of current year until the    Social Security             11,843.60 (estimated)
    date you filed for bankruptcy:              Benefits




    For last calendar year:                     Social Security                        $32,689.00
    (January 1 to December 31, 2022       )     Benefits
                                   YYYY




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 2
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Debtor 1            Judy                     Scherff                Brock                                          Case number (if known)
                    First Name               Middle Name            Last Name


    For the calendar year before that:                 Social Security                        $30,867.00
    (January 1 to December 31, 2021             )      Benefits
                                      YYYY




 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑ No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
              an individual primarily for a personal, family, or household purpose.”
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

              ❑ No. Go to line 7.
              ❑ Yes.        List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                            paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                            not include payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.


    ✔ Yes.
    ❑         Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              ❑ No. Go to line 7.
              ✔ Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
              ❑
                            include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                            an attorney for this bankruptcy case.

                                                               Dates of           Total amount paid         Amount you still owe       Was this payment for…
                                                               payment

                                                                                                                                      ❑ Mortgage
             BCS Pendleton Apartments II, LTD                  5/1/2023                      $3,715.59                        $0.00
             Creditor's Name                                                                                                          ❑ Car
             4150 Pendleton Dr. Apt 217                        4/1/2023                                                               ❑ Credit card
                                                                                                                                      ❑ Loan repayment
             Number        Street
                                                               3/1/2023
             Bryan, TX 77802                                                                                                          ❑ Suppliers or vendors
                                                                                                                                      ✔ Other Rent
             City                    State      ZIP Code
                                                                                                                                      ❑

                                                                                                                                      ❑ Mortgage
                                                                                                                                      ✔ Car
             Wells Fargo Dealer Services                       4/20/2023                     $1,692.00                $19,471.00
             Creditor's Name                                                                                                          ❑
             PO Box 25341                                      3/20/2023                                                              ❑ Credit card
                                                                                                                                      ❑ Loan repayment
             Number        Street
                                                               2/20/2023
             Santa Ana, CA 92799
             City                    State      ZIP Code
                                                                                                                                      ❑ Suppliers or vendors
                                                                                                                                      ❑ Other


  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which
  you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you
  operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑ Yes. List all payments to an insider.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 3
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Debtor 1             Judy                  Scherff                Brock                                           Case number (if known)
                     First Name            Middle Name            Last Name

                                                          Dates of            Total amount paid    Amount you still           Reason for this payment
                                                          payment                                  owe



    Insider's Name


    Number       Street




    City                          State   ZIP Code




  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑ Yes. List all payments that benefited an insider.
                                                          Dates of            Total amount paid    Amount you still           Reason for this payment
                                                          payment                                  owe                        Include creditor’s name



    Insider's Name


    Number       Street




    City                          State   ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and
  contract disputes.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                     Nature of the case                      Court or agency                                  Status of the case

    Case title                                                                                                                              ❑ Pending
                                                                                            Court Name                                      ❑ On appeal
                                                                                                                                            ❑ Concluded
                                                                                            Number       Street
    Case number

                                                                                            City                      State      ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔ No. Go to line 11.
    ❑
    ❑ Yes. Fill in the information below.


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Debtor 1            Judy                   Scherff                 Brock                                          Case number (if known)
                    First Name             Middle Name             Last Name

                                                                    Describe the property                                Date               Value of the property



    Creditor’s Name


    Number     Street                                               Explain what happened

                                                                   ❑ Property was repossessed.
                                                                   ❑ Property was foreclosed.
                                                                   ❑ Property was garnished.
    City                           State    ZIP Code
                                                                   ❑ Property was attached, seized, or levied.


  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or
  refuse to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                            Describe the action the creditor took                      Date action was     Amount
                                                                                                                       taken
    Creditor’s Name


    Number     Street



    City                          State    ZIP Code
                                                           Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-
  appointed receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑ Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift.




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5
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Debtor 1             Judy                   Scherff                Brock                                          Case number (if known)
                     First Name             Middle Name            Last Name

     Gifts with a total value of more than $600            Describe the gifts                                         Dates you gave       Value
     per person                                                                                                       the gifts



    Person to Whom You Gave the Gift




    Number     Street



    City                            State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift or contribution.
     Gifts or contributions to charities          Describe what you contributed                                  Date you              Value
     that total more than $600                                                                                   contributed



    Charity’s Name




    Number     Street



    City                    State    ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
  gambling?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
     Describe the property you lost and Describe any insurance coverage for the loss                             Date of your loss     Value of property lost
     how the loss occurred              Include the amount that insurance has paid. List pending
                                        insurance claims on line 33 of Schedule A/B: Property.




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 6
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Debtor 1            Judy                Scherff                Brock                                          Case number (if known)
                    First Name          Middle Name            Last Name
 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted
  about seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                              Description and value of any property transferred              Date payment or       Amount of payment
    Baker & Associates                                                                                       transfer was made
    Person Who Was Paid                       Legal Fees $1,963, Filing Fee $338, Credit Report $37
                                                                                                             2/3/23-3/23/23                $2,338.00
    950 Echo Lane Suite 300
    Number     Street




    Houston, TX 77024
    City                   State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You


                                              Description and value of any property transferred              Date payment or       Amount of payment
    Abacus Credit Counseling                                                                                 transfer was made
    Person Who Was Paid                       Credit Counseling Course
                                                                                                             5/7/2023                         $25.00
    3413 Alginet Drive
    Number     Street




    Encino, CA 91436
    City                   State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You




  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to
  help you deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                              Description and value of any property transferred              Date payment or       Amount of payment
                                                                                                             transfer was made
    Person Who Was Paid



    Number     Street




    City                   State   ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 7
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Debtor 1            Judy                 Scherff                 Brock                                          Case number (if known)
                    First Name           Middle Name             Last Name



  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                   Description and value of property        Describe any property or payments               Date transfer was
                                                   transferred                              received or debts paid in exchange              made
    Melissa Brock                              2016 Chevrolet Trax                         $2,000 paid on various dates.
    Person Who Received Transfer                                                                                                           12/28/2022
                                                                                           Debtor purchased the vehicle on about 2016
    2504 Alexander Pl Apt 202                                                              for her daughter who was in college. For that
    Number      Street
                                                                                           reason, when the car was paid off Debtor
                                                                                           transferred the vehicle to her daughter's
    Clearwater, FL 33763                                                                   name.
    City                   State    ZIP Code


    Person's relationship to you
    Daughter




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?
  (These are often called asset-protection devices.)

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                               Description and value of the property transferred                                            Date transfer was
                                                                                                                                            made


    Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved,
  or transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension
  funds, cooperatives, associations, and other financial institutions.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                   Last 4 digits of account number       Type of account or       Date account was           Last balance
                                                                                         instrument               closed, sold, moved, or    before closing or
                                                                                                                  transferred                transfer

    Name of Financial Institution
                                                   XXXX–                               ❑ Checking
                                                                                       ❑ Savings
                                                                                       ❑ Money market
    Number      Street


                                                                                       ❑ Brokerage
                                                                                       ❑ Other
    City                   State    ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 8
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Debtor 1            Judy                 Scherff                 Brock                                         Case number (if known)
                    First Name           Middle Name             Last Name



  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                    Who else had access to it?                 Describe the contents                     Do you still have
                                                                                                                                         it?

                                                                                                                                        ❑ No
    Name of Financial Institution                  Name
                                                                                                                                        ❑ Yes

    Number      Street                             Number    Street



                                                   City                  State   ZIP Code

    City                   State    ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                    Who else has or had access to it?          Describe the contents                     Do you still have
                                                                                                                                         it?

                                                                                                                                        ❑ No
    Name of Storage Facility                       Name
                                                                                                                                        ❑ Yes

    Number      Street                             Number    Street



                                                   City                  State   ZIP Code

    City                   State    ZIP Code




 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                    Where is the property?                     Describe the property                     Value
                                                                                              Appliances and microwave in apartment
    Hudson Trails Apartments                                                                  are property of the landlord.
    Owner's Name
                                                   Number    Street

    4150 Pendelton Drive
    Number      Street


                                                   City                  State   ZIP Code

    Bryan, TX 77802
    City                   State    ZIP Code




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 9
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Debtor 1            Judy                Scherff                Brock                                           Case number (if known)
                    First Name          Middle Name            Last Name
 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic
      substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the
      cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate,
      or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material,
      pollutant, contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                  Governmental unit                     Environmental law, if you know it                   Date of notice


    Name of site                              Governmental unit



    Number     Street                         Number      Street


                                              City                 State   ZIP Code


    City                   State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                  Governmental unit                     Environmental law, if you know it                   Date of notice


    Name of site                              Governmental unit



    Number     Street                         Number      Street


                                              City                 State   ZIP Code


    City                   State   ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 10
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Debtor 1            Judy                  Scherff                    Brock                                           Case number (if known)
                    First Name            Middle Name                Last Name

                                                    Court or agency                         Nature of the case                                Status of the case


    Case title
                                                  Court Name
                                                                                                                                              ❑ Pending
                                                                                                                                              ❑ On appeal
                                                                                                                                              ❑ Concluded
                                                  Number       Street


    Case number
                                                  City                  State   ZIP Code




 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑ A partner in a partnership
           ❑ An officer, director, or managing executive of a corporation
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ✔ No. None of the above applies. Go to Part 12.
    ❑
    ❑ Yes. Check all that apply above and fill in the details below for each business.
                                                     Describe the nature of the business                     Employer Identification number
                                                                                                             Do not include Social Security number or ITIN.
    Name
                                                                                                              EIN:          –

    Number        Street
                                                     Name of accountant or bookkeeper                        Dates business existed

                                                                                                              From                  To

    City                    State   ZIP Code



  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions,
  creditors, or other parties.

    ✔ No
    ❑
    ❑ Yes. Fill in the details below.
                                                     Date issued



    Name                                            MM / DD / YYYY



    Number        Street




    City                    State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 11
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 Debtor 1           Judy                Scherff               Brock                                         Case number (if known)
                    First Name          Middle Name            Last Name




 Part 12: Sign Below


  I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true
  and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
  bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




    ✘ /s/ Judy Scherff Brock
        Signature of Judy Scherff Brock, Debtor 1


        Date 06/07/2023




  Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    ❑ No
    ✔ Yes
    ❑

  Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    ✔ No
    ❑
                                                                                                  Attach the Bankruptcy Petition Preparer’s Notice,
    ❑ Yes. Name of person                                                                         Declaration, and Signature (Official Form 119).




Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 12
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 Fill in this information to identify your case:

  Debtor 1                  Judy                   Scherff           Brock
                           First Name              Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name       Last Name

  United States Bankruptcy Court for the:                        Southern District of Texas

  Case number                                                                                                                    ❑    Check if this is an
  (if known)                                                                                                                          amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                               12/15
If you are an individual filing under chapter 7, you must fill out this form if:
■ creditors have claims secured by your property, or
■ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever is earlier,
unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and date the
form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name
and case number (if known).


 Part 1: List Your Creditors Who Have Secured Claims

 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information
    below.
     Identify the creditor and the property that is collateral            What do you intend to do with the property that secures Did you claim the property as
                                                                          a debt?                                                 exempt on Schedule C?

    Creditor’s                                                            ❑ Surrender the property.                                ❑ No
    name:               Wells Fargo Dealer Services
                                                                          ❑ Retain the property and redeem it.                     ✔ Yes
                                                                                                                                   ❑
    Description of
    property
                        2019 Chevrolet Equinox
                                                                          ✔ Retain the property and enter into a
                                                                          ❑
    securing debt:                                                               Reaffirmation Agreement.
                                                                          ❑ Retain the property and [explain]:

    Creditor’s                                                            ✔ Surrender the property.
                                                                          ❑                                                        ✔ No
                                                                                                                                   ❑
    name:               AmeriCredit/GM Financial
                                                                          ❑ Retain the property and redeem it.                     ❑ Yes
    Description of
    property
                        2017 Ford Escape
                        Debtor's daughter drives and pays for
                                                                          ❑ Retain the property and enter into a
    securing debt:      vehicle                                                  Reaffirmation Agreement.
                                                                          ❑ Retain the property and [explain]:




Official Form 108                                      Statement of Intention for Individuals Filing Under Chapter 7                                         page 1
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 Debtor 1            Judy                   Scherff                  Brock                                        Case number (if known)
                     First Name             Middle Name               Last Name


 Part 2: List Your Unexpired Personal Property Leases

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in the
 information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may assume an
 unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                              Will the lease be assumed?
    Lessor’s name:                AT&T                                                                                             ❑ No
                                                                                                                                   ✔ Yes
                                                                                                                                   ❑
    Description of leased
    property:                     Contract for Servies

    Lessor’s name:                                                                                                                 ❑ No
                                                                                                                                   ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                 ❑ No
                                                                                                                                   ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                 ❑ No
                                                                                                                                   ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                 ❑ No
                                                                                                                                   ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                 ❑ No
                                                                                                                                   ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                 ❑ No
                                                                                                                                   ❑ Yes
    Description of leased
    property:




 Part 3: Sign Below


   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
   property that is subject to an unexpired lease.



  ✘ /s/ Judy Scherff Brock
      Signature of Debtor 1


      Date 06/07/2023
            MM/ DD/ YYYY




Official Form 108                                        Statement of Intention for Individuals Filing Under Chapter 7                                     page 2
                            Case 23-32148 Document 1 Filed in TXSB on 06/07/23 Page 68 of 80
 Fill in this information to identify your case:                                                             Check one box only as directed in this form and in
                                                                                                             Form 122A-1Supp:
  Debtor 1                  Judy                   Scherff             Brock
                                                                                                             ✔ 1. There is no presumption of abuse.
                                                                                                             ❑
                           First Name              Middle Name         Last Name

  Debtor 2
                                                                                                             ❑ 2. The calculation to determine if a presumption
  (Spouse, if filing)
                                                                                                                of abuse applies will be made under Chapter 7
                           First Name              Middle Name         Last Name
                                                                                                                Means Test Calculation (Official Form 122A-2).
  United States Bankruptcy Court for the:                        Southern District of Texas                  ❑ 3. The Means Test does not apply now because
                                                                                                                of qualified military service but it could apply later.
  Case number
  (if known)
                                                                                                             ❑ Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                              12/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name
and case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or
because of qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp)
with this form.

 Part 1: Calculate Your Current Monthly Income

 1. What is your marital and filing status? Check one only.
     ✔ Not married. Fill out Column A, lines 2-11.
     ❑
     ❑ Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
     ❑ Married and your spouse is NOT filing with you. You and your spouse are:
        ❑ Living in the same household and are not legally separated. Fill out both Column A and B, lines 2-11.
        ❑ Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

  Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.11 U.S.C. §
  101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income
  varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For
  example, if both spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write
  $0 in the space.

                                                                                                         Column A             Column B
                                                                                                         Debtor 1             Debtor 2 or
                                                                                                                              non-filing spouse
 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all payroll
    deductions).                                                                                              $1,595.02

 3. Alimony and maintenance payments. Do not include payments from a spouse if Column B
    is filled in.                                                                                                   $0.00

 4. All amounts from any source which are regularly paid for household expenses of you or
    your dependents, including child support. Include regular contributions from an
    unmarried partner, members of your household, your dependents, parents, and
    roommates. Include regular contributions from a spouse only if Column B is not filled in. Do
    not include payments you listed on line 3.                                                                      $0.00

 5. Net income from operating a business, profession,
                                                                       Debtor 1        Debtor 2
    or farm
     Gross receipts (before all deductions)                                $0.00

     Ordinary and necessary operating expenses                     -       $0.00   -
                                                                                                  Copy
                                                                           $0.00
     Net monthly income from a business, profession, or farm                                      here
                                                                                                  →                 $0.00

 6. Net income from rental and other real property                     Debtor 1        Debtor 2
     Gross receipts (before all deductions)                                $0.00

     Ordinary and necessary operating expenses                     -       $0.00   -
                                                                                                  Copy
                                                                           $0.00
     Net monthly income from rental or other real property                                        here
                                                                                                  →                 $0.00

 7. Interest, dividends, and royalties                                                                              $0.00

 Official Form 122A-1                                            Chapter 7 Statement of Your Current Monthly Income                                             page 1
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Debtor 1                   Judy                           Scherff                           Brock                                         Case number (if known)
                           First Name                     Middle Name                       Last Name
                                                                                                                           Column A                       Column B
                                                                                                                           Debtor 1                       Debtor 2 or
                                                                                                                                                          non-filing spouse
       8. Unemployment compensation                                                                                                         $0.00
           Do not enter the amount if you contend that the amount received was a benefit
           under
           the Social Security Act. Instead, list it here: ..................................................   ↓
           For you....................................................................................    $2,960.90
           For your spouse......................................................................
       9. Pension or retirement income. Do not include any amount received that was a                                                       $0.00
          benefit under the Social Security Act. Also, except as stated in the next sentence,
          do not include any compensation, pension, pay, annuity, or allowance paid by the
          United States Government in connection with a disability, combat-related injury or
          disability, or death of a member of the uniformed services. If you received any
          retired pay paid under chapter 61 of title 10, then include that pay only to the extent
          that it does not exceed the amount of retired pay to which you would otherwise be
          entitled if retired under any provision of title 10 other than chapter 61 of that title.
       10. Income from all other sources not listed above. Specify the source and amount.
           Do not include any benefits received under the Social Security Act; payments
           received as a victim of a war crime, a crime against humanity, or international or
           domestic terrorism; or compensation, pension, pay, annuity, or allowance paid by
           the United States Government in connection with a disability, combat-related
           injury or disability, or death of a member of the uniformed services. If necessary,
           list other sources on a separate page and put the total below.




     Total amounts from separate pages, if any.                                                                            +                               +

                                                                                                                                     $1,595.02             +                        =     $1,595.02
       11. Calculate your total current monthly income. Add lines 2 through 10 for
           each column. Then add the total for Column A to the total for Column B.
                                                                                                                                                                                     Total current
                                                                                                                                                                                    monthly income

 Part 2: Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

    12a. Copy your total current monthly income from line 11....................................................................................      Copy line 11 here →                $1,595.02

            Multiply by 12 (the number of months in a year).                                                                                                                            X 12
    12b. The result is your annual income for this part of the form.                                                                                                       12b.         $19,140.24

13. Calculate the median family income that applies to you. Follow these steps:
    Fill in the state in which you live.                                             Texas

    Fill in the number of people in your household.                                  1

    Fill in the median family income for your state and size of household.................................................................................................... 13.       $60,040.00
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.
14. How do the lines compare?
         ✔ Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
    14a. ❑
           Go to Part 3. Do NOT fill out or file Official Form 122A-2.
    14b. ❑ Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
           Go to Part 3 and fill out Form 122A–2.




Official Form 122A-1                                                                  Chapter 7 Statement of Your Current Monthly Income                                                       page 2
                          Case 23-32148 Document 1 Filed in TXSB on 06/07/23 Page 70 of 80
Debtor 1           Judy                  Scherff                 Brock                                        Case number (if known)
                   First Name            Middle Name              Last Name

Part 3: Sign Below

    By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

   ✘ /s/ Judy Scherff Brock
       Signature of Debtor 1

       Date 06/07/2023
              MM/ DD/ YYYY

    If you checked line 14a, do NOT fill out or file Form 122A–2.
    If you checked line 14b, fill out Form 122A–2 and file it with this form.




Official Form 122A-1                                         Chapter 7 Statement of Your Current Monthly Income                              page 3
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 Debtor 1          Judy                   Scherff               Brock                                         Case number (if known)
                   First Name             Middle Name           Last Name




                                           Current Monthly Income Details for the Debtor(s)

                                                                     Debtor 1 Income Details:
                                                          Income for the Period 12/01/2022 to 06/01/2023.


Employment Income
Source of Income: First Financial Bank
Income by Month:
                           Date                     Income                  Deductions                      Net
  6 Months ago                  12/2022                       $0.00                   $0.00                       $0.00
  5 Months ago                  01/2023                   $2,808.25                 $742.24                   $2,066.01
  4 Months ago                  02/2023                   $1,393.32                 $369.01                   $1,024.31
  3 Months ago                  03/2023                       $0.00                   $0.00                       $0.00
  2 Months ago                  04/2023                   $2,402.09                 $667.86                   $1,734.23
  Last Month                    05/2023                   $2,966.48                 $773.34                   $2,193.14
                    Average per month:                    $1,595.02                  $425.41                  $1,169.62

Social Security Income
Source of Income: Social Security
Income by Month:
                          Date                      Income
  6 Months ago                 12/2022                  $2,960.90
  5 Months ago                 01/2023                  $2,960.90
  4 Months ago                 02/2023                  $2,960.90
  3 Months ago                 03/2023                  $2,960.90
  2 Months ago                 04/2023                  $2,960.90
  Last Month                   05/2023                  $2,960.90
                    Average per month:                    $2,960.90




Official Form                                           Chapter 7 Statement of Your Current Monthly Income                             page 1
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                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                      SOUTHERN DISTRICT OF TEXAS
                                                            HOUSTON DIVISION

IN RE: Brock, Judy Scherff                                                            CASE NO

                                                                                      CHAPTER 7




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      06/07/2023            Signature                                /s/ Judy Scherff Brock
                                                                        Judy Scherff Brock, Debtor
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                       AmeriCredit/GM Financial
                       Attn.: AmeriCredit Dept
                       P.O. Box 183853
                       Arlington, TX 76096



                       AmeriCredit/GM Financial
                       Attn: Bankruptcy
                       PO Box 183853
                       Arlington, TX 76096



                       AT&T
                       P.O. Box 650574
                       Dallas, TX 75263




                       Barclays Bank Delaware
                       Attn: Bankruptcy
                       Po Box 8802
                       Wilmington, DE 19899-8802



                       Capital One
                       1680 Capital One Dr
                       Mc Lean, VA 22102-3407




                       Comenitybank/onestop
                       Attn: Bankruptcy
                       PO Box 18125
                       Columbus, OH 43218



                       Credit One Bank
                       P.O. Box 60508
                       City of Industry, CA 91716-0500




                       First Financial Bank/Elan
                       Credit
                       P O Box 790408
                       St Louis, MO 63179-0408
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                       First Premier Bank
                       PO Box 5114
                       Sioux Falls, SD 57117-51145




                       Genesis FS Card Services
                       Attn: Bankruptcy
                       PO Box 4477
                       Beaverton, OR 97076



                       Greater Tx F C U
                       6411 N Lamar Blvd
                       Austin, TX 78752




                       Hudson Trails Apartments
                       4150 Pendleton Dr
                       Bryan, TX 77802




                       Internal Revenue Service
                       Centralized Insolvency Operations
                       Po Box 7346
                       Philadelphia, PA 19101-7346



                       Jefferson Capital
                       16 McLeland Rd
                       St Cloud, MN 56303




                       Jefferson Capital Systems,
                       LLC
                       16 McLeland Road
                       Saint Cloud, MN 56303



                       Kohls/Capital One
                       Attn: Credit Administrator
                       PO Box 3043
                       Milwaukee, WI 53201-3043
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                       Merrick Bank/CCHoldings
                       Attn: Bankruptcy
                       P.O. Box 9201
                       Old Bethpage, NY 11804-9001



                       Resurgent Capital Services
                       P.O. Box 10587
                       Greenville, SC 29603




                       Resurgent Capital Services
                       PO Box 1269
                       City of Industry, CA 91716




                       St Joseph Hospital
                       2900 Franciscian
                       Bryan, TX 77802




                       SYNCB/Texaco
                       Attn: Bankruptcy
                       PO Box 965060
                       Orlando, FL 32896-5060



                       Synchrony Bank/Care Credit
                       Attn: Bankruptcy Dept
                       PO Box 965064
                       Orlando, FL 32896-5060



                       Synchrony Bank/QVC
                       Attn: Bankruptcy Dept
                       PO Box 965060
                       Orlando, FL 32896



                       Texas A&M Vet MTH
                       408 Raymond Stotzer Pkwy. Bldg. 1085
                       College Station, TX 77845
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                       Texas A&M Veterinary MTH
                       4457 TAMU
                       College Station, TX 77843




                       U.S. Bankcorp
                       Attn: Bankruptcy 800 Nicollet Mall
                       Minneapolis, MN 55402




                       Summer Walker
                       4150 Pendleton 212
                       Bryan, TX 77802




                       Walmart Credit
                       Services/Capital One
                       Attn: Bankruptcy
                       PO Box 30285
                       Salt Lake City, UT 84130-0285


                       Walmart/ Capital One
                       P O Box 30285
                       Salt Lake City, UT 84130-0285




                       Wells Fargo Dealer Services
                       PO Box 25341
                       Santa Ana, CA 92799-5341
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                Notice Required by 11 U.S.C. § 342(b) for
                Individuals Filing for Bankruptcy (Form 2010)


                  This notice is for you if:                                          Chapter 7: Liquidation

                         You are an individual filing for                                               $245    filing fee
                         bankruptcy, and
                                                                                                          $78   administrative fee
                                                                                                 +        $15   trustee surcharge
                         Your debts are primarily consumer debts.
                         Consumer debts are defined in 11 U.S.C. §                                      $338    total fee
                         101(8) as “incurred by an individual
                         primarily for a personal, family, or                        Chapter 7 is for individuals who have financial
                         household purpose.”                                         difficulty preventing them from paying their
                                                                                     debts and who are willing to allow their non-
                                                                                     exempt property to be used to pay their
                                                                                     creditors. The primary purpose of filing under
                                                                                     chapter 7 is to have your debts discharged.
                The types of bankruptcy that are                                     The bankruptcy discharge relieves you after
                available to individuals                                             bankruptcy from having to pay many of your
                                                                                     pre-bankruptcy debts. Exceptions exist for
                Individuals who meet the qualifications may file                     particular debts, and liens on property may
                under one of four different chapters of the                          still be enforced after discharge. For example,
                Bankruptcy Code:                                                     a creditor may have the right to foreclose a
                                                                                     home mortgage or repossess an automobile.
                        Chapter 7 — Liquidation
                                                                                     However, if the court finds that you have committed
                        Chapter 11— Reorganization                                   certain kinds of improper conduct described in the
                                                                                     Bankruptcy Code, the court may deny your
                        Chapter 12— Voluntary repayment plan                         discharge.
                                    for family farmers or
                                    fishermen                                        You should know that even if you file chapter 7 and
                                                                                     you receive a discharge, some debts are not
                        Chapter 13— Voluntary repayment plan                         discharged under the law. Therefore, you may still
                                    for individuals with regular                     be responsible to pay:
                                    income
                                                                                             most taxes;
                You should have an attorney review your                                      most student loans;
                decision to file for bankruptcy and the choice of                            most domestic support and property
                chapter.                                                                     settlement obligations;




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)         page 1
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                                                                                     your income is more than the median income for
                        most fines, penalties, forfeitures, and                      your state of residence and family size, depending
                        criminal restitution obligations; and                        on the results of the Means Test, the U.S. trustee,
                        certain debts that are not listed in your
                                                                                     bankruptcy administrator, or creditors can file a
                        bankruptcy papers.                                           motion to dismiss your case under § 707(b) of the
                You may also be required to pay debts arising                        Bankruptcy Code. If a motion is filed, the court will
                from:                                                                decide if your case should be dismissed. To avoid
                                                                                     dismissal, you may choose to proceed under
                        fraud or theft;
                                                                                     another chapter of the Bankruptcy Code.
                        fraud or defalcation while acting in breach
                        of fiduciary capacity;
                                                                                     If you are an individual filing for chapter 7
                        intentional injuries that you inflicted; and
                                                                                     bankruptcy, the trustee may sell your property to
                        death or personal injury caused by
                                                                                     pay your debts, subject to your right to exempt the
                        operating a motor vehicle, vessel, or
                                                                                     property or a portion of the proceeds from the sale
                        aircraft while intoxicated from alcohol or
                                                                                     of the property. The property, and the proceeds
                        drugs.
                                                                                     from property that your bankruptcy trustee sells or
                                                                                     liquidates that you are entitled to, is called exempt
                If your debts are primarily consumer debts, the
                                                                                     property. Exemptions may enable you to keep your
                court can dismiss your chapter 7 case if it finds that
                                                                                     home, a car, clothing, and household items or to
                you have enough income to repay creditors a
                                                                                     receive some of the proceeds if the property is
                certain amount. You must file Chapter 7 Statement
                                                                                     sold.
                of Your Current Monthly Income (Official Form
                122A–1) if you are an individual filing for
                                                                                     Exemptions are not automatic. To exempt property,
                bankruptcy under chapter 7. This form will
                                                                                     you must list it on Schedule C: The Property You
                determine your current monthly income and
                                                                                     Claim as Exempt (Official Form 106C). If you do
                compare whether your income is more than the
                                                                                     not list the property, the trustee may sell it and pay
                median income that applies in your state.
                                                                                     all of the proceeds to your creditors.

                If your income is not above the median for your
                state, you will not have to complete the other
                                                                                      Chapter 11: Reorganization
                chapter 7 form, the Chapter 7 Means Test
                Calculation (Official Form 122A–2).
                                                                                                        $1,167    filing fee
                                                                                                 +        $571    administrative fee
                If your income is above the median for your state,
                you must file a second form —theChapter 7                                               $1,738     total fee
                Means Test Calculation (Official Form 122A–2).
                The calculations on the form— sometimes called                       Chapter 11 is often used for reorganizing a
                the Means Test —deduct from your income living                       business, but is also available to individuals. The
                expenses and payments on certain debts to                            provisions of chapter 11 are too complicated to
                determine any amount available to pay unsecured                      summarize briefly.
                creditors. If




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)         page 2
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                  Read These Important Warnings

                      Because bankruptcy can have serious long-term financial and legal consequences, including loss of
                      your property, you should hire an attorney and carefully consider all of your options before you file.
                      Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
                      and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
                      properly and protect you, your family, your home, and your possessions.

                      Although the law allows you to represent yourself in bankruptcy court, you should understand that
                      many people find it difficult to represent themselves successfully. The rules are technical, and a
                      mistake or inaction may harm you. If you file without an attorney, you are still responsible for
                      knowing and following all of the legal requirements.

                      You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
                      necessary documents.

                      Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
                      bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
                      fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
                      to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                 Chapter 12: Repayment plan for family                               Under chapter 13, you must file with the court a
                             farmers or fishermen                                    plan to repay your creditors all or part of the money
                                                                                     that you owe them, usually using your future
                                     $200    filing fee                              earnings. If the court approves your plan, the court
                                                                                     will allow you to repay your debts, as adjusted by
                            +         $78    administrative fee
                                                                                     the plan, within 3 years or 5 years, depending on
                                     $278    total fee                               your income and other factors.

                Similar to chapter 13, chapter 12 permits family                     After you make all the payments under your plan,
                farmers and fishermen to repay their debts over a                    many of your debts are discharged. The debts that
                period of time using future earnings and to                          are not discharged and that you may still be
                discharge some debts that are not paid.                              responsible to pay include:

                                                                                             domestic support obligations,
                 Chapter 13: Repayment plan for                                              most student loans,
                             individuals with regular                                        certain taxes,
                             income                                                          debts for fraud or theft,
                                                                                             debts for fraud or defalcation while acting
                                     $235    filing fee                                      in a fiduciary capacity,
                            +         $78    administrative fee                              most criminal fines and restitution
                                                                                             obligations,
                                     $313    total fee
                                                                                             certain debts that are not listed in your
                                                                                             bankruptcy papers,
                Chapter 13 is for individuals who have regular
                                                                                             certain debts for acts that caused death or
                income and would like to pay all or part of their
                                                                                             personal injury, and
                debts in installments over a period of time and to
                                                                                             certain long-term secured debts
                discharge some debts that are not paid. You are
                eligible for chapter 13 only if your debts are not
                more than certain dollar amounts set forth in 11
                U.S.C. § 109.




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)         page 3
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                  Warning: File Your Forms on Time                                         A married couple may file a bankruptcy case
                                                                                           together—called ajoint case. If you file a joint
                                                                                           case and each spouse lists the same mailing
                  Section 521(a)(1) of the Bankruptcy Code
                                                                                           address on the bankruptcy petition, the
                  requires that you promptly file detailed
                                                                                           bankruptcy court generally will mail you and
                  information about your creditors, assets,
                                                                                           your spouse one copy of each notice, unless
                  liabilities, income, expenses and general
                                                                                           you file a statement with the court asking that
                  financial condition. The court may dismiss your
                                                                                           each spouse receive separate copies.
                  bankruptcy case if you do not file this
                  information within the deadlines set by the
                  Bankruptcy Code, the Bankruptcy Rules, and                               Understand which services you
                  the local rules of the court.                                            could receive from credit
                                                                                           counseling agencies
                  For more information about the documents and
                  their deadlines, go to:                                                  The law generally requires that you receive a
                  http://www.uscourts.gov/bkforms                                          credit counseling briefing from an approved
                  /bankruptcy_form                                                         credit counseling agency. 11 U.S.C. § 109(h).
                  s.html#procedure.                                                        If you are filing a joint case, both spouses
                                                                                           must receive the briefing. With limited
                                                                                           exceptions, you must receive it within the 180
                Bankruptcy crimes have serious
                                                                                           days before you file your bankruptcy petition.
                consequences
                                                                                           This briefing is usually conducted by
                        If you knowingly and fraudulently conceal                          telephone or on the Internet.
                        assets or make a false oath or statement
                        under penalty of perjury—either orally or                          In addition, after filing a bankruptcy case, you
                        in writing—in connection with a                                    generally must complete a financial
                        bankruptcy case, you may be fined,                                 management instructional course before you
                        imprisoned, or both.                                               can receive a discharge. If you are filing a
                        All information you supply in connection                           joint case, both spouses must complete the
                        with a bankruptcy case is subject to                               course.
                        examination by the Attorney General acting
                        through the Office of the U.S. Trustee, the                        You can obtain the list of agencies approved
                        Office of the U.S. Attorney, and other                             to provide both the briefing and the
                        offices and employees of the U.S.                                  instructional course from:
                        Department of Justice.                                             http://justice.gov/ust/eo/hapcpa
                                                                                           /ccde/cc_approved.html.
                Make sure the court has your
                mailing address                                                            In Alabama and North Carolina, go to:
                                                                                           http://www.uscourts.gov/FederalCourts
                The bankruptcy court sends notices to the mailing                          /Bankruptcy/
                address you list on Voluntary Petition for                                 BankruptcyResources/ApprovedCredit
                Individuals Filing for Bankruptcy(Official Form 101).                      AndDebtCounselors.aspx.
                To ensure that you receive information about your
                case, Bankruptcy Rule 4002 requires that you                               If you do not have access to a computer, the
                notify the court of any changes in your address.                           clerk of the bankruptcy court may be able to
                                                                                           help you obtain the list.




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)         page 4
